Case 1:21-cv-01011-JAV Document1-2 Filed 10/02/20 Page 1of9

EXHIBIT A
Page 2 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

T14aM-19d4
TIM-15d4
THM-15d4
TIM -19d4
TIM-19d4
TMM-19d4
TISM-19d4
H3ds19d4
H3us-19d4
H3ud-19d4
Haud-19d4
H3¥3-1Dd4
H3us-19d4
H3Ys-19d4
H3us-1Dd4
WddD-1Dd4
WddD-ISd4
WduD-19d4
1duD-|Dd4
Td¥3-1SdJd
Wdd3-15d4
‘1d¥3-19d4
SNOSD-ONOD
INOD-INO3
AOD-IW3A
AODIWIW
AQD-TWIA
H1LH3-HLH3
HLH3-HLH3
HLH3-HLH3
IdAV-IOAY
lOAW-IGAY
loAW-IOAW
IOAV-IdAY

IGAW-IGAW
IGAW-IGAY
IGAW-IGAV
IGAV-IGAY
IdAW-IGAY
IdAV-IGAY
IdAW-IGAY
IdAW-IdAY
IGAW-IdAY
IdAW-IGAY
IOAW-lGAY
IOAW-laAyv
lOAW-IGAY
lOAW-IGAY
IOAW-IQAW
IGAW-IGAY
IGAW-laAW
IGAW-IGAW
IGAW-IGAY
NNSH-SIAND
NNSH-SIWI1D
NNSH-SW19
NASH-SIANID
lyS@38-1¥sao9
AQUd-SIINA
WODIGAV-IGAV
TM-1WOW
THA IWOW
d¥4H-dWJH
qa dsw

Agewiiid s| soueunsul Apyiqel| JayjO AVepuodas auesipayy sy

Auewiid s} oyne Julpnjsu) saueinsur yjne4-on Auepuosas aues|payy pT
Auewulid $1 oie duipnjau! ssuesnsuy yne4-oN AuepUuosas aueIIpayy PT
Auewilid $s} o}ne Sulpnjsul aaueinsul jney-on Auepuoras aieaipaly pT
Asewyid $1] ojne Sulpnjaul aauesnsuy 3jNeY4-oN Auepuosas auesipaly pT
Augewlid 3] ojne Sulpn/suy sauesnsuy }]Ne4-oN Avepuosas auesipayy pT
Aseuajid s] One Bulpnjsu! a2uesnsur ynej-oN Alepuosas sueaipayy pT
Aseuuiid s! one duipnjouy aduesnsuj yjne4y-oy AUepuoras aseIIpalAl pT
Auewuild s| saueunsul Ay|Igel| Jayjo Avepuodas aesIpay) fp

Auewid $1 aoUeINSsU! Aql|iqel| 4ayjo Asepuosas aueaipayy Ly

Auewiid si aaueinsut Aqijiqel| 484,30 Alepuozas aezipal\| /p

Auewilid si soueunsul AqIqel| JeyjO Avepucaas auesipayy fp

Auewild si soueunsu Aqijiqel| wayj0 Alepuosas suesipay fp

Asewuid 5] oyne Bujpnyjau! a2uesnsuy ynej-on Avepuosas auesipayy pT
Adeuuiid s| oyne Bulpnjau) asuesnsul 4jNej-onN Alepuosas ouesIpay pT
Agewiid s} a2ueunsuy Aqiiqel) 49430 Alepuosas auesipayy /p

Ageuslid 5} one Sujpnjau; a2ueunsul 3jnej-on Aepuosss asesipayy pT
AJeUd 51 ONE SuIpNjaul aduesnsul yjney-oy Aepuosas SIEDIPalA pT
Asewijid s1 oyne Suipnjau! souesnsul yyne4-ON AUePUOdaS aIeIIPAW pT
Aled s! aouesNsUy ARIIGe!] J94YIO AUPPUODAS aleDIPay) /p

Aged $1 aoueinsul Aqqel| 48yjO ALepuodas aJesIpa| Zp

Aged Ss} aoueunsul AyyIgel| Jay}O AJepUudoas ases|pay; fp

Agewiid $1 soueunsu! Ajiyiqel) JayjJo Auepuosas auesIpayy /p

Adewiid $} aaueunsuy Ayiqel| JayjO ALepuosas aleaipayy /p

Ageuuiid $1 ojne dujpnjsuy a2uesnsur yney-on Auepuosas azesipayy pT
Ageuujid $s] oyne Sulpnjau; aaueinsui yney-on Alepuosas avesIpayy pT
Aueuujid s| Oyne Juipnjau) souesnsul yjney-on Auepuosas aleapalyy pT
Auewilid $1] ojne duipnjsuy eauesnsuy yne4-on AUepuoras auesIpal PT
Ajewilid $| ojne Buipnjou! aoueinsuy yne4-on Auepuogas auesipayy pT
Aged sj sQueunsu! Aqliqel| wayyo Avepuogas aue2|pa;W Lp

Agewild si oyne Sujpnjsul aueinsul yjnej-on Aepuoras aieapayy pT
Aseuilid st oyne Buipnjauy aouesnsul ynej-oN Aepuosas auerIpaly pT
Agewilid si one Bujpnjau] aouesnsul 3jNe4-oN Aepuoras aueripalyy pT
Ageuid s) a2ueINsU! AQ|Iqel) Ja4}0 Alepuddas asealpeyy fp

Agewsjid s} oyne 3ujpnjauy s2uesnsu! 3[nej-oN Auepuodes aseripayy pT
Ageulid $1 ojne Fuipnjsu! saueinsul yney-oy AVepuosas auerpayy pT
Agewuiid s| aouesnsul Aqligel] 4ay}O AJepUodas aIBDIPSW fp

AJeWLid s| OyNe Bujpnjsu! BIuesNsul yNe4-On AUEpUaras aledIpay) PL
Aueuuilid s} one Sulpnjau| aduesnsul yjne4j-on Auepuasas BueIIpay) pT
Ageusjsd 5] OjNe Bulpnjoul a2ueinsul ynej-op AWepuosss suesIpayy PL
fueuwlid si soueunsul Ajijiqel) ayo Auepuosas auesipay Zp

Adewilid s| aoueunsul Ayyiqel| JayjO ANepUozas aleIIpal) sp

Aueuslid $1 oyne duipnysu souesnsul yNe4-on AUEPUOISS aJEIIPaY| pT
Auewiid 3] ojne Suipn]suj a2ueinsui yney-on Asepuosas suespay) pT
Asewiid $] opne Bulpnjsuy a2ueinsuy yjne4-on Auepuosas auesipay pT
Asewijid s| oyne Suipnjau aoueinsui yjnej-on Aiepuosas auesipayy pT
Ageuilid s! oyne Suipnau! aduesnsul yjnej-oy Arepuosas auerpayy PT
Ageuild 5] oyne Sujpnjsul auesnsul yjnej-oy Auepuoras auerpayy pT
Ajeuild s! oyne Suipnjau) aouesnsul yjne4y-on Asepuosas auerpayy pT
Aseuiiid s] oye Supnjau! aouesnsul yne4-ON Auepuosas UEP] pT
Adeuilid si O}Ne Zurpn|jauy a2ueunsul 3jNe4-oN ALepuodsas aieripayyl pT
AeWLd $s] BduUeINSU! AjIqel) JayjO Adepuodes aseoIpayy sp

Aueuuiid si aouesnsur Ay 4ayjO Alepuasas suelIpay,) /p

Agewijid s} aoueunsu! Aqiqel| 4ay}O AJepUodas auedIpayy /p

Aged si aoueunsut Ay) JeyjJO AUEPUODaS BIEDIPaW) Lp

Augewilid si ojne duipn[suy sauesnsul yNey-oN Auepuoras auerpayy pT
Aueuiid st aoueunsul Ay JayjO Adepuocas alecipayy) fp

Ageuslid s} o}ne duipnjsu) adueinsut yjnej-on Auepuosas aues|payy pT
Auewiid si aoueunsu Aqiiqel| 48430 Auepuosas alesipay, /p

Agelid si) soueunsu! Aqiqel 49410 Alepuosas alesIpayy fp

Agewilid s| oyne Buypnysu! aouensu 4jNe4-ON ALepUuodas aled!IpaLy PT
Agewild s} oyne Bulpnjau aduesnsul yjNey-oN ALepUuodaS a1ed/pa|A pT
Agewid s} oyne Su/pnjau! aauewnsul 3jne4-oN Alepuosas auesipay; pT
Auetuiid si oyne Sulpnjau; a2uesnsul 3jNe4y-oN Aiepuosas aserpayy pT
adAy adueunsuy

b98TO ‘WIN “ONIGV3Y HLYON ‘OOP LS Ud NYVdYSAIY OOF
SO9PTSETE ‘WD ‘DIA JNVILSIM ‘GY VENOOW TSOTE
SO9PTSETE ‘WD ‘DIA JNVILSIM “GY VUNOOY TSOTE

9ZTEL “NO “ALIO VWOHW1NO ‘S66897 XOB Od

SO9PTSETS ‘WO ‘SIA JNVILSIM ‘GY VENOOW TSOTE
SO9PTSET6 ‘WO ‘DTA ANVLLSaM ‘GY WENO TSOTE
SO9PTSETS “WO ‘DIA JNVILSIM ‘OY VENOOY TSOTE
SO9PTSETE “V2 ‘DIA JAVILSIM ‘Yd VUNOOV TSOTE

P98TO ‘VW ‘ONIGWAY HLYON ‘OOP 315 YO WHVduaAIY OOP
vOSTO ‘VIN ‘DNIGV3Y HLYON ‘OOP ILS HG UVd¥aAly OOP
P98TO ‘VIN “ONIGW3Y HLYON ‘OOP 3LINS ‘YO WuWd¥aAIY OOP
P9STO “WW “ONIGV3Y HLYON ‘OOP ALINS ‘Hd WYVdU3AIY OOP
SZTEL "HO ‘ALID VAIOHVTIO “908852 XO8 Od

SO9PTIETE “WO ‘DTA JNVLLSIM ‘OY VUNOOV TSOTE
SO09PLSETE “V2 “DIA SNV1ISIM ‘OY VENOOV TSOTE

SZTEZ ‘NO ‘ALID WNOHV1NO “908852 KOE Od

SO09PT9ETE “YO “DTA IAVIISIM ‘GY VENODY TSOTE
BO9PT9ETE ‘Y> ‘STA JNVLUS3M ‘GY VENODY TSOTE
SO9PTSETE “VO ‘STA JNVILSIM ‘OY WHNOOY TSOTE

SEOOT ‘AN “XYOA M3N ‘YOO14 GYEb INV NAGIVIN 6S
TEvEe ‘Id ‘NOLVY V30" ‘ETLOTE XO" Od

TEPEE “Id ‘NOLWY VIO" ‘6TZOTE XO@ Od

POBTO “VIAL ONIGV3Y N ‘OOP 315 ‘YC NuvdY3AIY OOF

P98TO “VIN ‘ONIOW3Y HLYON “YO WYvdH3AIY OOF
QOOOTIETG “WD ‘OVTIHA 3xVILSAM ‘AVOY VENOOY TsOTE
OOOOTSETE ‘WD ‘DVTHIA JAVILSAM ‘GVOU VUNOOY TSOTE
BO9PTSETG ‘VO ‘SIA JAVILSIM “GY VENOOY TSOTE
OSSZTET PY ‘HO ‘STIIH N3AIS ‘dL> OdYWaIIO? 008s
OSSZTET bP ‘HO 'STIIH N3A3S ‘YL OGYVSINOT 008S

PORTO “VIN ‘ONICV]Y HLYON ‘O0t ILS YG NUVd¥aALy OOP
SO9PT9ETE “VD ‘DIA JNVTLSIM ‘d¥ VENOOV TSOTE
SO9PT9ETE “WO ‘DTA 3NVLISIM ‘Gd VENOOV TSOTE
BO9PTIETE “VD ‘OTA SAV LLSIM ‘GY VEYNOOV TSOTE

SZTEZ "NO ‘ALID VNOHWTAIO ‘908892 XO8 Od

BO9PT9ETE ‘VD ‘OTA SXVILSIM ‘OY VENOOV TSOTE
OOOOTSETS “VO ‘DVTIIA JAVILSIM ‘VOU WUNOOV TSOTE
P9BTO “VIN “SDNIGW3Y HLYON ‘OOP 3LINS Ud WY VdYaAIY OOP
BO9PTIETE ‘WD ‘DIA ANVLLSAM ‘GY WUNOOY TSOTE
B09PTSETE V2 ‘DIA JxVILSaM ‘GY WUNOOYW TSOTE
SO9PTSETE ‘WO ‘DIA JAVILSIM “GY VENOOV TSOTE

POSTO ‘VIA ‘ONIGV3Y HLYON ‘OOH "YC HYVdHaAIY OOP ‘SHINLYWd SWIVTD OSI NLL
POBTO ‘VW ‘DNIOW3Y HLYON ‘OO 315 ‘YO NUVdY3AIY OOF
BO9PTSETE “WO ‘DTA JNVILSIM ‘GY VENOOW TSOTE
SO9PTSETS ‘VO ‘DIA JAVILSAM ‘OY WUNOOYW TSOTE
SO9PT9ETE ‘WO ‘DTA JNVILSIM ‘GY VUNOOW TSOTE
SO9PTSETE “VD ‘DIA 3NVILSIM ‘GY VENOOY TSOTE
EGGS9ZTEL “HO ‘ALID VINOHVINO “66892 XO Od
OGPESOZBZ “XL ‘OINOLNY NYS “9088S€ XO8 Od

909Z€ “1d “STHASINIVS “GATE HL6S “M'N OEP

SO9VT9ETE “VO ‘DTA JNVILS3M ‘dd VENOOV TSOTE
SO9PT9ETE “VO “DTA INV LLISIM ‘Gd VUNOOY TSOTE

P9IBTO “WW “ONIGWIY HLYON ‘OOP S3LINS ‘YC NUVdYIALY OOP
LTZTTSZSZ “XL ‘SWTIVO ‘BO LIMA O622T

@ZO€E “ld ‘GOOMATIOH ‘S806Zz XO" Od

P98TO ‘VIN ‘ONIGV3Y HLYON ‘OOP 315 “Yd MuVddSALY OOV
S09PTSETE ‘WO “DIA JNVLLSIM ‘OY WUNOOW TSOTE

POBTO “WIN ‘ONIOW3Y HLYON ‘OOF 3LINS ‘SANG NYVeNaAIY OOF
SO9VT9ETG ‘WO ‘DIA aNVILSAM ‘GY WUNODY TSOTE

b9STO “VIN ‘ONIDV3Y HLYON ‘OOt JLs “JAINO NUVdu3AIY OOY
OSSZTET PY ‘HO ‘STIIH N3AQS ‘HD OGYVEIWIOT 0OBS
E6689ZTEL “HO ‘ALID VAWOHYTXO ‘E66892 XOE Od
SO09PT9ETE ‘WD ‘STA JNVILSIM “GY VENOOY TSOTE
SO9PT9ETE “WO ‘DTA JAVILSAM ‘Yd VENOOV TSOTE

PIEEE “1d “JIAVO ‘Gy ONITULLS TOZS

ssouppy

JONVUNSNI LSNYLIY PBEZSSSZZ
O93 SNI TWNOILVN ALIND3S 0
OD SNI TWNOILWN ALINND3S 0
TWNOILWN ALINND|S TT+300'8
O93 SNI TWNOILWN ALINND3S O
O93 SNI TWNOILVN ALINND3S O
09 SNI TWNOILVN ALINNDAS O
O2 SNI IWNOILYN ALIYMD3S O
ONI ‘WIN HLYON LSNULAY TS90EE2z
ONI “‘WOINI HLYON LSNULAY Te90geZz
ASMULINY ESSbSZ77LZ
ASMULINY ESshszzzz
JINVUNSNI WNOLLYN ALIUNDAS © SBPZSZ8009000E
O93 SNI WNOILLVN ALIUND3S O
O02 SNIIWNOILYN ALIYNDAS O
SNI TWNOLLVN ALINMD3S
O93 SNITIVNOLLYN ALINNDAS O
OD SNI IWNOLLWN ALINNDIS O
2 SNI TWNOLLVN ALIND3S 0
SADIAURS TWIONWNId LSNY LI T-Séss9gz
JONVUNSNI OLNW TWNOILWN ALIUNDIS 6TSPZZTSS
JINVYNSNI OLNY WNOLLWN ALIUNDIS GTSPZZTBS
SNI ‘VOIMJINY HLYON ISNYLWY TTSPZ90€
VOIMSINY HLYON ISNYLINY TSTSstoe
O93 SNI TWNOILVN ALINND3S O
O93 SNI TWNOILWN ALINND3S O
O39 SNI TWNOILWN ALIYNDS 0
ONIVOINSINY HLYON LSMULIAY = Z0-Z¥OZ00Tdd
ONIVIISSIN HLYON LSNYLINY = Z0-ZPOZOOTddM
LSNULINY TRTO6ELT
O93 SNITIVNOILYN ALINNDIS O
O93 SNITWNOLLYN ALINNDAS O
O39 SNI TWNOLLWN ALINMO3S O
ISAM 1O1SI8@ TVNOLLWN ALINMDIS E€TPZTEZOT
OD SNITWNOLLYN ALIN] 0
OD SNITWNOILLYN ALINNDAS 0
ONI VN LSNULWY TI662Z9T
OD SNI TWNOILWN ALINNDS O
OD SNI-IWNOILWN ALINND3S O
OD SNITWNOILVN ALIYNDAS 0
VIDA HLYON ISNYLINY T9pZZT Ze
ASNULINY PTOZ008z
OD SNI TWNOILWN ALINND3S 0
O93 SNI TWNOILVN ALINNDS O
OD SNI TWNOILVN ALIND3S O
OD SNI TWNOILLYN ALIYNDIS O
O02 SNI TWNOILYN ALIYMDIS O
TWNOLLWN ALINNDAS vEPT9O900E
TWNOLLWN ALINNOAS T
O3 SNITIWNOLLYN ALINDAS O
O2 SNITIVNOLLYN ALIENDIS O
ON NVDINBINY HLYON LSNULY TLETT6Zz
dIWOD 33NVYNSNI TWNOILLVN ALINNDAS O0-SZP90T Td 8s
OD SNI TWNOLLWN ALIUNDIS TT+3T0'E
VOIMZINY HLYON LSNYLWY
O23 SNITWNOILYN ALINND3S O
ASNYLINY 968P766Z
OD SNITWNOILWN ALINND3S 0
ONI VOIMAINY HLYON LSNYLINY T9EEESTZ

LTGSEEEV

T-sésoce?e

INIVIINSWY HLYON ISLAY STTOPEOAddVa
OD SNI TWNOILWN ALIYND3S O
OD SNI TWNOLLYN ALIYND3S 0
O02 SNI WWNOILVN ALINND3S O
JINVENSNI WNOILVN ALINNDaS TOSEPEEZPOOD

dade Asewiyig Suoday —f uejg / euUOD

TIAM-1Sdd-S8ErT set
VAM -1Dd4-¥6ZE0SST
TIM-15d4-PePresst
TIIM-19ds-OF9VE09T
TIAM-1Dd4-9LESS09T
TIM 19ds-0P68T COT
THM-19ds-OP68TZ9T
H3Ys-1Dd4-PEZITOOOd
H3us-19d4-69EE9000d
H2ud-1Dd4-69E£9000d
H3us-1Dd4-7ZPE9TOOd
Ha¥d-1Sd4-72ve9T 0d
H3ud-19d4d-TZ694£T00d
H3us-15dd-88282T 00d
H3ud-19d4-88282T00d
‘TWddD-IDdd-TO.8892/4E2
‘Wdd3-I9d4-TO.Z8S0E bz
Wd¥D-19d5-TO.78S0E rz
Wd3D-IDd4-TO.Tessere
1d¥3-15d5-TO.O89SSPz
Wd¥3-I9dd-TO«SESTLbz
WddD-19d3-TO.SEST Ape
INOD-INOD-E6LPEELT
INOD-SNO3-£0S0Z08T
AOD“IWIIN-T04264208208
AODIWIW-T0.262208Z08
AOD"INIIA-T0«280SZE608
HLH3-HLH3-TOZPsOPrzor
HLH3-HLH3-TOZPSOrrZOT
HLH3-HLH3-TOTELPOLPL0
IQAV-IGAY-O0EZTZZ00TY
lOAV-IOAW-OO60E0900TY
lOAW-IOAY-OO60E0900TY
IGAW-IGAW-00872TZE0TY
IOAW-IGAW-O00ZP9TSOTY
IGAV-IGAW-OOOEZESSOTY
IGAV-IGAW-OO80TO6SOTY
IOAV-IGQAW-OOSZTZZZ0T¥
lOAW-IGAY-OOPSoPzZZ0TY
IGDAV-IGAV-00602P6L0TY
IdAW-IGAY-006SPs907Sv
IGAV-IGAW-O076L0207S0
lOAV-IGAW-O00L9PE0zsv
IOAW“IGAW-O00L9P807S¥
lOAV-IdAW-O0089S60zS¥
lOAW-IGAW-OOTZ8Z0TZS¥
lOAV-IDAV-O0698S7T7S¥
IOAV-IGAV-OOSTITEEZSY
IGAW-IOAV-00608PETCSY
lOQAW-IOQAY-O08P0Z9TZ2S¥
IGAV-IGAV-OOP<TS8zzsVv
IOAW-IOAW-OOTSZZ6S0TV
IGAW-IGAV-OOOTEL6TeS¥
IQAV-IGAW-OO8SzezTZSy¥
NOSH-SINTD-68Z78EZSH
NOSH-SI13-60S892SH
NASH-SINTD-SEEZL2SH
NNSH-SINTD-8ZEZ22SH
IWSAD9-IMSdDG-EOvSEsEe
AOUd-SIINA-6PZSE00000N
WODSIDAV-IOAV-O0EOSPELOTY
TIAM-IWSA-TOEOET eT
TIM-IWSW-TOEOET PT
dW4dH-d¥dH-OO8/TT POTTS
pj saquayy dsyy
Page 3 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

HIH3-HLHI
HLH3-H.LH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHa
HiIH3-HLHS
HLH3-HLHI
HLH3-HLH3
HLH3-HLH4
HLH3-HLH3
AOUd-HTIN
AOUd-YIN
AOUd-YIN
AOUd-HfIN
AQdd-YiIIN
AOQUd-YrAL
INO3D-3NOD
INOD-INOD
INOD-INOD
INOD-INOD
INOD-3NOD
dHO4-dHd
|AH-MddH
|NNH-MudH
WINH-MadH
INH-MadH
IINH-MdH
WINH-MadH
WINH-MadH
WNH-MudH
WOH-MudH
WNH-MadH
WOH-MadH
WNH-MudH
WOH-MudH
WNH-MudH
WIN H-MdH
WINH-MudH
WNH-ddvdll
WAH-ddvdllAl
IWOH-ad Wd IAL
INH-Ddd
WINH-Ddd
WINH-Sdd
WINH-Sdd
NdHN-NdHN
1dO-I9d4
1dO-I5d5
idO-I5d4
TAM -19d4
TIAM-19d4
TIM-1Sd4
NM -15d4
TNM-15d4
Thaw 1Dd4
TIAM-19d4
TIAM-19d4

Agewiud $1 aoueunsul Gel] 42Yy}0 AUepuodas asesIpal sy
Aseuutid s} a2ueUNSU! AIIIGQeI] JaYO AUepUODdas auesIPSYy sp
Aseuwjid si aoueunsul Aqijiqel| JeyjO Auepuosas asezIpayy Lp
Aueuwlid si ooueunsul Ap|iqel) Jayjo Auepuosas asesipay sy
Agewnid s] aaueunsul Ayigel| Jayjo Auepuosas aresipayy fp
fuewlid s] aoueunsul Ayyiqel) 49430 Auepuodas asespay sy
Auewwilid $s} aoueunsul Ayigel| 4ayjO Alepuoaas aleripay sp
Alewiid $| aaueunsul AyyIqel| 4ay}0 AUepUOras aledIpaly /p
Agewiid si asueinsul Aji | 4a4JO ALepuooas suesIpaly sp
Auewiid s| aoueinsul A: | 44}O Auepuosas aie
Aged si saueunsul Aj! | 48430 AUepuosas aue
Ageuwiid | 42430 AUepuodas que
Augewiud | 48430 Alepuosas aue
Agewyid | 42430 Auepuoaas que
Agewd | 4e4}0 Aepuoaas suesipayy Ly
Agewiid s} aoueunsul A: Jayjo Alepucaas auesipay Ly
Aueuwilid si soueunsui A: | 4240 Auepuoaas ale
Auewd si aaueunsul Ay | 4eyio AepucDas cue
! 3pNe4-ON AUepUaTAaS ale:
Jey,O AVEpuodas aJeDIpaW sp
4BYy}O AVeEpUuoras aJEIIpaW sp
4ayjo Aepuodas aseripay /p
NJIU) S9UBINSU! 1Ne{-ON AIEpUoras aserIpay\) PT
4aYj}0 Auepuasas alesipay Zp
Jayjo Alepuozas aselipay) fp

q

q

q

IG
souesnsuy AqIIq
Soueunsul AqIq'
iq

iq

iq

iq

q

aaueinsul Aj
aoueinsul A

Agewitid si aouesnsur Aqiig
Aged si oyne 3

Ageuijid s} aoueunsul AqlIgel| 49430 ALepuodas seIIpaY) se

Aged si adueunsur Ayyiqel 4e4yj0 Atepuosas aueaipayy fy
Aseuilid s| oyne Suipnjsu! souesnsu) yjnej-on Aiepuosas aueripal pT
Aseuilid s| oyne Sujpnjau) aoueansul yjnej-oN Aepuoras asesipayy pT
Aseuiiid s1 one Zuipnjoul aoueunsul 3jney-oN Aiepuosas auesipay] pT
Aleulid $i one duipnjour aauesnsul yjney-oN AIBpUuddaS BIeDIPa pT
Asetuiid st oyne Buypnjauy a2ueunsul 3jNe4-ON AUepUasas aiesIpeyy pT
Aveuiuid s} oyne Suipnjsu! a2ueunsul 3yneJ-ON ALepuodes aleDIpPaYW pT
AJQWLd S| OMe Fuipnjsul sauesnsu yne4y-ony AyEpuozas SIBIPSYy pT
Ageuilid si oyne Sulpnjou! soueinsul yjne4-OnN ALepUodas aler1pal) pT

Ageuilid s] aoueunsul AyyIqel| 4ayjO AVepUuoras a1edIpa|W sp

Agewyid s} a2ueunsu! Ay|Iqel] ay}O AIepUddaS aLedIPaY) sp
Asewyid $s] OpNe Sulpnjauy adueinsus yjne4-oy Asepuosas suespayy PT
Ageutid $1 Ojne dulpnjsu! aoueinsul yne4-on Auepuosas aueaipayy pT
Asewiid $} ojne Buipnjaul asueinsui yney-on Avepuosas aserlpayy pT
Agewiid 5} oyne Bulpnjau! aduesnsu! 4jney-oN Asepuovas auer|/payy pT
Aueuld s} oyNe Suipnjau; souesnsu yjnej-oN Aepuozas, SUEIIPAIW PT
Asewilid s| oyne Buipnjau; souesnsul yney-onN Alepuosas suesipalA] pT
Agewijid si one Bujpnjau a2uesnsul 3/Nej-ON Aepuodas suesipayy pT
Auewlid s] oyne Buypnjou) a2ueinsul 3jNe4-oN Alepucsas SEdIpPayy pT
Ageulid $1 oyne Zulpnjou: eaueinsul yne4-oN AVepuoras aIBIIPaW pT
Aseuilid s! oyne Sujpnjouy souesNsu! y[Ne4-ON AUEPUOraS aIeIIPAYW) pT
AJewuiid $1 Oyne Sulpnjou! aaueinsul yne4-ON Alepuasas aseIpaly pT
Aseuud 5} 0yne Sulpnjou! aaueunsul 3jne4-On AIePUDdaS aiedIpa;) PL
Aseuiud si oyne Suipnjou; esuesnsu! ynej-ON AIepudas SIeD1pPaW) pT
Adeuilid s| oyne duipnjoul aouesnsuy YNe4-ON AUepUoraS auerIpa|\ pT
Asewiid s} Oyne Bujpnyjau) aduesnsul yNe4-oN Alepuaras auesipey pT
Agewlid s} ojne duipnyjau! sauesnsul yjney-on Auepuosas aues|payy pT

Auewilid s| aoueunsu! Ayyiqel| 4ay}O Arepuosas alesIpay fp

Ajewid 3} aouesnsuy Aqiiqel| 48430 AUepuodas alerIpal sp
Asewiid $s} ope Buipnjaul aaueinsui yjne4-onN Avepuoaas sueaipay pT
Aseuulid s} oyne Sulpnjaul aduesnsul yjnej-oy Asepuoras aueapayy pT
Aueuilud s! oyne Suipnjou aduesnsur yjney-on Auepuovas aues|payy pT

Auewud si aauesnsui Ay deyi0 Alepuosas auesipaw /p
Aseuuiid s1 o}ne Zulpnjour a2uesnsul yjNe4-ON AIepuoras aJeIIPaW) pT
Avewiid s} oyne Sulpnjoui aauesnsul y[/ne4-on AUepuodes sesIpaly pT
AJeuLid $1 ONE BuIpnjsul saueinsul Ijne4-o- AJepudsas auesipayy pT
AJelujid s} oyne Fuipnjsui aaueunsul ynej-o- Arepuosss asernpay pT

P9BTO “VIN ‘ONIGV3Y N ‘OOP 315 ‘YG AYVdu3AIY OOF

P9STO “WIN ‘ONIGV3Y SOW ‘OOP ‘3.15 Yd NYVdyaAlY OOF
b98TO ‘VIN “ONIGW3H JSON ‘OOb ‘31S YO WYVdUIAIY OOF
P9870 “WW ‘ONIGV4Y HLUON ‘OOF 3LINS ‘YC NYVdY3AIY COP
POBTO ‘VIN “SNIGVIY HLYON ‘OOP 3LINS JAINO WY VdYsAIY OY
POBTO “VIN ‘ONIG VAY N ‘OOF 25 ‘YC NuWd YRAIY OOF

pIBTO “VN “ONIGW3Y N ‘OOP 315 “YO Wud YRAIY OOF

PIBTO ‘WIA ‘DNIGWIY N ‘OOP 315 “YO Yd YaAIY OOP

£9090 ‘19 “TH ANDO ‘DE BLS YO 3S/YdY3LN3 00S

£9090 ‘19 ‘TH ANDO¥ ‘DE 31S YO 3S1udY3LN3 00S

£9090 ‘LD ‘TIIH ANDOY ‘DE 31S YO 3sivdY3LN3 00S

P9STO ‘VIN “ONIV3Y HLYON ‘OOF ALINS Yd HUVdYaAIY OOP
P98TO ‘VW ‘ONIGW3Y HLYON ‘OOP SLINS JAIN WYVd YIAIY OOP
P9STO ‘VIN 'SNIGV]Y HLYON ‘OOb ILINS JANG Wud WIAIY OOP
TOT PP ‘HO ‘ONV13A319 ‘Se69 XO8 Od

TOTP ‘HO ‘ONV13A319 ‘S69 XO Od

P9BTO ‘VW ‘NIG WaY HLYON ‘OOP ALINS ‘JAIN dud HIALY OOP
PO8LO ‘VIN ‘DNIGVIY HLYON ‘OOP JLINS “AAG NYvd YIAIY OOF
SvOpBE0O! ‘AN AYOA M3N ‘9 14 N1 N3CIVIN 6S

PS8TO ‘VW ‘ONIDVIY HLYON ‘OOP 315 YO Wud YAAIY OOP
P98TO ‘WIN “ONIGVIY HLYON ‘OOP JS YG Wed Y3AIY OOP
P98TO ‘VIN “ONIGV3Y HLYON ‘OOP 315 ‘YC Wud Y3AIY OOP
OSSZTET YP ‘HO 'STIIH N3AIS “WLI OGYVEIWOT OOSS
LTZITSZS2 “XL “SVTTVO “YO LINSW O6LZT

P98TO “WIN “ONIGV3Y HLYON ‘OOP 31S YO Wud Y3AIY OOP
POBTO ‘WIN “ONIGVIY HLUON ‘OOF 41S “Ya HUVduaAIY OOP
POSTO “VIN ‘ONIGV]Y HLYON ‘OOF 31S “YG XUVdHIAIY OOP
P98TO ‘VIN ‘ONIGVAY “N “YO WW Y3ALY OOS

POSTO “WIN 'DNIGV3Y "NYC ud YAY 00S

SO9VT9ETE “V2 ‘DTA JNVLLSIM ‘GY VENOOW TSOTE
B09VTIETE ‘VD ‘OTA SV ILSAM ‘GY VYNOOV TSOTE
BO9PTIETE ‘WO ‘OTA IAVILS3M ‘GY VENODY TSOTE
E6689ZTEd ‘NO ‘ALID WWOHWINO ‘E6689Z XOB Od

E6689ZTEL ‘NO ‘ALID VAIOHWTHO ‘E66892 KON Od

SO9PTIETE ‘VO ‘STA ANVILSIM ‘QU WUNOOW TSOTE
BO9PTSETE ‘WO “OTA JNVLLSIM ‘OY WUNOOV TSOTE
BO9PTOETE ‘WO ‘DIA INV1LSaM ‘GY VUNOOYW TSOTE

SET Ed “NO ‘ALID VWWOHYTXO ‘908852 XO" Od

S2LEZ ‘NO ‘ALID VIWOHYTHO ‘908857 XOd Od

SOIPTSETG ‘VO ‘DIA ANVILSIM “OY VUNOOY TSOTE
SO9PTSETS ‘VD ‘DIA ANVILSIM “GY VUNOOY TSOTE
S09PTSETE ‘VD ‘DIA NVILSIM ‘GY VENOSY TSOTE
S09PTIETE ‘VD ‘DIA JIVILSIM ‘OY VENOSV TSsoTE
BO9PTIETE “WD ‘DTA JAVILSIM ‘GY VUNOOY TSOTE
BO9PTIETG “VD ‘OTA JAVILSAM ‘du WUNOOY TSOTE
BO9PT9ETE “VO ‘STA ANVLSIM ‘GY VENOOW TSOTE
BOSUTIETE “VD ‘DTA FAVLLSIM ‘OY VHNOOV TSOTE
EGGS9ZTEL ‘NO ‘ALID VINCHYTNO “E66892 XO Od

E6GB9ZTEL “NO ‘ALID VINOHVINO ‘66892 XOE Od

BO9PL9ETE “V2 ‘STA ANVLLSIM ‘OY VENODY TSOTE
BO9PTIETE ‘VD ‘OTA SAVILSIM ‘CY VENOOW TSOTE
BO9PTSETE ‘VO ‘DTA INV ILSIM ‘GY WUNOOY TSOTE
EGSB9ZTEL “NO “ALIO VINOHVINO ‘£66892 XO" Od
OOOOTS6PS ‘IM ‘WOVdNWM ‘LS3NaIAdG EOL

BO09PTSETS ‘WO ‘DIA axVILSaM ‘GY VUNOOY TSOTE

P9810 ‘VIN “ONIGW3Y HLYON ‘OOb 31S ‘3AINC ud YIAIY OOF
P9O8TO “VIN ‘ONIGVIY HLYON ‘OOb 31S “SAINO Aud Y3AIU OOL
TEPEE ‘Td ‘NOLVY W908" ‘6TZOTE XO8 Od

SO9PT9ETE ‘WD ‘DIA JAVILSAM ‘OY WENO TSOTE
BO09PT9ETG “WD ‘DTA 3NVILSAM ‘CY VENOSY TSOTE

9ZTEL ‘NO “ALID VAWOHVINO “66892 XOB Od ‘H3LN39 LNIWINDO0 TWNOLLYN
BO9PT9ETE “WD ‘DTA JUV LISIM ‘OY VENOOV TSOTE
SO9PT9ETE “VO “OTA INVLLS3M ‘GY VENOOW TSOTE
SO9PL9ETE “V2 ‘STA ANVLLISIM ‘Gu VENODY TSOTE
BO9PL9ETE “WD ‘OTA SXVILSIM ‘OY WENOOY TSOTE

WOIMSINY HLYON ISNSLI Te62Z90zT
ON! “WOIMAIY HLYON ISNYLWY ZOZTSEbZ
ON! “WOIMAWY HLYON ISNULINY ZOzZTsEpz
VOIMJINY HLYON ISNYLINY TSEZZeZz
‘ONI “VOIMSINY HLYON LSNYLINY TETSZS2z

LSNYLAY
LSnuliy
LsSndlwiy

E-SPLEEOT
E-BPLEEOT
E-SpLEEOr

ASNULINY EPZ9IS96T
ASNULINY EpzZg996T
LASNULIY EPZ9996T
VWOINSIWY HLYON LSNULINY TTP2 2697
OD JONVENSNI LSNULIY Té9sTstz
O35 JINVENSNI LSNULVIY T6E98TSTZ
dNOY¥S LSNULAY GBE609SED
dNOYS ISNYLAY 686609SEr
VIIZNV HLYON LSNYLWY TezTe6Zz
WOISWY HLYON LSNYLA TeZTE6 ZZ

ONISSSIAUSS TWISNVNId LSNYLAY

ONI VOIWaINWY HLYON LSU

ONI VOIMAINY HLYON LSNuLlA

ASNd lay

ONIVIMAWY HLYON Sn liv

dINOD JONVENSNI TWNOILWN ALIYND3S
ASMULINY 2ST

TO-OSTZbOT Vd
€ £STL0€ez
€ £ST LOE
€-Tz9990¢

OO-8ZEZTOTSAS

OO-8ZECTOTSIAS

ANWdIAIOD JONVENSNI LSNYLIY EZ8ZZTSZ
ANVdINOD JINVHNSNILSNULINY EZSZLTSE
ONI ‘VOINZINY HLYON LSNULAY Tesetesz
NI ‘WOINIIY HLYON LSNULIY Teszrpsz

O03 SNIIWNOLLYN ALIYND3S O
03 SNI TVNOLLWN ALINND3S 0
O3 SNI TVNOLLWN ALINND3S 0
O3 SNI IVWNOLLWN ALINND3S O
O03 SNI TWWNOLLWN ALIYN33S 0
O3 SNITVNOLLYN ALIS O
OD SNITWNOLLWN ALIUNDIS O
O39 SNITIWNOILVN ALINND]S O

JINVENSNI IWNOILYN ALIUND3S 99ST PTOTOE
JONVUYNSNI TYNOILVN ALINNDIS 99IBTPTOTOE

O23 SNI TWNOILYN ALINND3S O
2 SNI TWNOILVN ALINND35 0
O03 SNI TWNOILYN ALINND3S 0
02 SNI TWNOLLYN ALINND33S 0
O02 SNITWNOLLYN ALINNDaS O
09 SNITIWNOLLYN ALINNDS O
O32 SNI 1VNOLLVN ALINNOAS 0
OD SNITWNOLLYN ALINND3S 0
OD SNIIWNOLLWN ALINND38 0
O09 SNITWNOLLWN ALINMD3S 0
O09 SNITWNOLLVN ALIND3S 0
OD SNITWNOILWN ALINNDAS O
OD SNITIWNOILWN ALIYND3S O
O93 SNIIVNOILVN ALIYNDIS 0

SOVLIIYIH 22089

OD SNIIVWNOILYN ALIYND3S O
Asn Lliny
ASNYLINY

€-0G64£50¢
€-0S62502

S3R1SNON! GILVISOSsy EL98Zs

OD SNi TWWNOILVN ALINND3S 0
O03 SNI IWNOILVN ALINND3S O
JINVYNSNI WNOLLWN ALIYND3S
O23 SNITWNOLLYN ALIENS 0
O3 SNITVNOLLVN ALINND3S 0
O3 SNITWNOLLVN ALINNDas 0
O3 SNITIWNOLLYN ALINND3S O

TO6éPEeLPOOd

HLH3-HLH3-TOZST L9sh40
HLH4-HLH4-TOOT9S07860
HLH3-HLH3-E00T9S07860
HLH3-HLH3-TO66PZ0PZ0T
HLHa-HLH3-T090Z98780T
HILH3-HLH3-TOS9PL9EPTT
HLH3-HLH3-TOSSP/9EPTT
HLH3-HLH3-LO89t/9EPTT
HLH3-HLH3-TOPEPTTSzeT
HLH4-HLH3-LOperTZszet
HLH3-HLH3-TOPEPTZSZET
HLH3-HLH3-209€4E 40085
HLH3-HLH3-TOLZ8TZELZ0
HLH3-HLH3S-TOLZ8TZELZO
HLH3"HLH3-TO686609SEr
HLH3-HLH3-TO686609SEP
HLH3-HLH3-TOSSS8OPT ZT
HLH3-HLH3-TOSSS80bT ZT
AOUd-YTIAN-SO6/9T
AOdd-HIIA-TZ882T
AOQUd- SIA TL882T
AOUd-UIIN-ZSS6ZT
AOUd UM LLETS
AQUA SMI LLETS
INOD-INOD-8SZ7Z98¢T
INOD-INOID-79666202
INOD-INOS-79666402
INOD-SNOD-ToezZO9EsTW
INOD-3NOD-TO62L09E8 TIN
dHOd-dHIIS-86E99Z
WNH-MadH-00028SS/9~H
WNH-MudH-OOZEPS8Z60H
WNH-MudH-OOEEOPSET PH
WNH-MudH-OOEEOPSEZPH
WNH-MudH-OOTST LET éPH
WNH-MudH-O064EZ80TSH
INH-MudH-O06ZET80TSH
WINH-MudH-OOT?Z69PSSH
MINH-MadH-OOTPL69PSSH
WINH-MadH-00E929 €00PH
WINH-MYdH-00€929 €00bH
WINH-MudH-00E9249£00PH
WNH-MadH-00£949 E00bH
WNH-MddH-00E929 €00PH
WNH-MddH-O0ZST“ZSZ20SH
WINH-MadH-O0LST£SZ0SH
WOH-SdVdiW-OOZ6TZSPTTH
WNH-adVdlW-OOEEOPSECPH
WNH-dvdlIW-OOEEOPsEzrH
WINH-Ddd-00S269906~H
WIH-Ddd-O0P9TPB9/SH
WNH-3dd-O0TA9TTOStH
WNH-Sdd-OOTL9TTOStH
NdHN-NdHN-TOOO98ZzOT
idO-ID5ds-ZSE9ZOOOL
1dO-i5dJ-E0Z6E000L
LdO-I5dd-E0Z76E000L

TIM -19d4-SZE9E0T

TAM" 19ds-£98T p28
TIM-19d4-OTLEPOTT
THM-i5d4-S2728bTT
TIEM-19d4-96SEE6TT
TIAM-19d3-96SEE6TT
TM-1Sdd-LOET ZT CT
TIAM-1Sds-LOETZT ZT
Page 4 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

HLH3-HLH3
HLH3-HLHI
HLH3-HLH4
HLH3-HLH3
HIH3-HLH3
HLH3-HLH3
H.LH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH4-HLHI
HLH3-HLHA
HLH3-HLH3
HLHa-HLHa
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLHa-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-H.LH3
HLH3-HLHI
HLH3-HLH3
HLH3-HLHA
HLH3-HLH4
HLH3-HLH3
HILH3-H.LHA
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HJH3-HLH3
HLHa-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH2
HIH3"HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLHa-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLHI-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHZ
HLH3-HLH3
HLH3-HLH3
H.LH3-HLH3

Aueuud si soueunsul Ay
Ajewitad $1] aoueunsul A;
Agewiiid s] aouesnsul Aq:
Agewyid s1 agueunsu Ay
Auewiid s| aoueiunsul A
Aueuijid s| aaueunsul Ay
Aged $1 eaueunsuy A:
Aged s} a2ueunsul Ay
AJeutjid Ss] @9UeINSU! A
Auewiud si adueunsuy Ay
Aged 5) aaueunsut A}
Ageuild s| aouednsul Ay
Ageuiid s| adueunsul Ay!
Ageuuiid st aoueunsul Ay!
Agewilid s} aoueunsul Ay
Agewild s) a9ueunsul Ay
Aged s} s9ueINSU! Ay
Auewsd S} @2UeUNSU! AY
Agewiid s} adueunsui Ay
Ageuuiid s} aoueunsur Ay!
Agewiud si aoueunsur Ay
Ageuuiid st aaueunsul Ay

el] Jayio Arepugzas aserpall /p
el] e430 Arepuorzas alerIpaW sp
ij J84jJO ALepUaras aIeDIpPalAj sp
el] JYJO AEpUuoras asesIpay) sp
el] 4ayjO Alepuosas alesipeyy sp
iqel] ayo Alepuosas aseaipay, sp
El] JaYyIO AWepuasas querIpayy fy
21) oy,0 AGepuoras auesIpaW fp
Ie! 4ey{0 Alepuoras aiesipayy sp
1Qel) 44YIO Alepuoras siesIpa /p
!Gel) 48430 AUepuoras alecIpeyy fp
1Qel] J4}O Auepudsas alesIpayy Zp
| JBYIO AILPUd2aS aseIIPaY; sp
i] 48YIO AJepUadas aueDIPaY) sp
1] JaYIO AUepuoras aJEDIpPaYW) Zp
4ayyo Auepuoras aiesipayy sp
484}0 Alepuoras aiesipay sp
JayjO Alepuodas auerjpalyy zp
Jeyjo Alepuases azesipay sp
4ayj0 Auepuosas SIBIIpPSW Zp
484}0 Alepuosas alesIpalyy /p
4a4j0 Auepuozas alecipaw fp

Aewtd si aoueunsuy Agi:qey] Jao Alepuosas esesipayy fp

Aseuujid s| oyne Suipnjouy asueunsut yNe4-ON Arepuosas auesIpay pT

Aseuiud si aduesns
Adeuuuid st aoueunsul Ay!
Aseuujid s) aoueunsu A
Auewiid si aaueinsul A
Auewlid si aaueinsu A:
Auewiid 5) aoueunsul Ay!
Aveuujid s} aaueunsu) Aj)
Agewitid s! aoueunsul Ay
Asewiid s} aoueunsul Aj)
Auewiid si aaueunsul Ay
Auewiid $i eaueunsul Ay

Gel] Jayo Alepuosas aierIpay) /p
Gel] 4a4JO Asepuooas aieripayy sp
| 4ayJO Auepuosas aes)
| 49430 Auepuosas aueapay, sp
| 4840 Auepuodas auedI|pay] fp
| 48yjo Aepuooas auesipay sip
| 4aylO Alepuosag ayeaipayy (Pp
48410 Alepuosas aiesipay sp
48yJO Aepuodas suesipayy sp
Gel] Joyo ANepuosas alesIpaW fp
el] JayiC Alepuoras aledipay /p

Aseuilid 5) o}ne Suipnjau! aoueinsul yjnej-oy Aepuozas SIESIPAW pT

Aseuuiid 5} soueuNsU! AjI}Iqel| 4240 Ayepucras BIBDIPSAl fp
Ageuiiid 5} B2UeINsU! Ajjiqel) sao AGepugsas auesIpayy fp
Ageuyid s] A2UBINSU! Adiqer Jey,0 AUEpuodas aiedIpayy fp

Aveuuid 5} oyne Bulpnjou) eaueinsuy yne4-on Alepuosas auesipayy pT

Ageuid $1 aoueunsul Aqyiqe!] sayy AUepuozas aiezipayy sp
Agewlid s) saueunsul Aqyiqel 49430 Alepuooas aseaipayy sp
Augeuulid 5} aUeINsU! AqI]IqeI] 2430 ALepUodas aueDIpal| fy

Agewid 5] oyne Suipnjau! asuewnsuy ynej-oN Aiepuosag oser1payy pT

Auewiuid si aduesnsul Ay IQel| Jayjo Alepuozas ayeslpayy sp
AgewiLid si aoueunsul AyiIqel] 48430 Alepuosas SIEIIPSIA) fp
AuewiLid s) eoueunsu! Aj|igel| 18y}0 Alepuozas SIRIIPSY) sp
Ageusjid 5] BUBINSU! Aj[IGQe!] JaYIO Alepuoras auesipayy sp
Ageuilid S| a2ueinsul Aj|Iqel] JayjO Auepuosas asesIpaly fp
Agewitd s! soueInsu! Aqi|Igel] 4ayjo AUepUozasS SJeIIpaw Lp

Alewilid S| oie Bulpnjsul aaueinsui yneJ-on AJepuooas suesIpayy PT
Agewiid 5) oyne Suipnjou! aoueinsu) yne4-on Alepuosss suesipayy pT

Ajeuiid si agueunsuy Ay
Agelulid si sauesnsul Ay,
Agewlid $1 aoueunsul Ay!
Aewiud si aoueunsuy Ay
Agewitd si asueinsul Ay
Ageuijid s} aoueinsul Ay
Aged s] aoueunsul Ay
Ageuiuid s| aoueunsu Aj!
Agewlid si aaueunsuy Ay
Auewiid $1! aqueunsuy Ay
Aueuiid si eaueunsul Ay

Jayio Alepuoras auesipal) Jp
484j0 Auepuooas alezIpay fp
1] 4Y4JO AURpUras aiesipayy sp
21] 49430 Auepudsas asesIpayy fp
qel| JaY}O Asepuoras aleaipay) fp
el] 48430 Aepuodas auesipay Zp
el] e430 ANepUucdas ser pay] fp
el] JaYIO ALepUasas aierIpaW sp
Gel] JAYIO AUepUadEs BlesIpal sp
Gel] J@4JO Adepuosas auesIpayy sp
el] JayIO Arepuodas aledIpal sp

P6020 “IN ‘SNDVD30 “AMd SONY] MOdW3A EE

6020 ‘IN ‘SNIVIIC “AMd SONY MOQWAW Ee

P98TO ‘VIN ‘ONIGWAY HLYON ‘OOP 3LINS “ud yuWdYaAlY OOP
bO8TO “VW ‘DNIGW3Y HLYON ‘OO 31S YO WVdYIATY OOF
TOT PP ‘HO ‘ONVI3A919 ‘S69 XO ‘O'd

P98TO ‘VW DNIGVIY HLYON ‘OOF 315 ‘YO WuVdY3AIy OOP
p98TO "WW “ONIGWIY HLYON ‘OOP 31S “dd YuWd¥aAlY OOF
P9810 ‘VW ‘ONIGVAY HLYON ‘OOP 31S ‘YG NUVdIAIY OOP
P9SLO ‘VIN “ONIGV3Y HLYON ‘OOP 31S “Yd WuvduaAly OOP
DOSTO "VW ‘ONIGW3Y HLIYON ‘OOb 31S "UG WY VdYIALY OOP
P98TO ‘VIN “ONIGVIY HLYON ‘OOP 315 “Yd WuWd¥aAlY OOF
P9STO ‘WW ‘ONIGVIY HLYON ‘OOP LS Yd NYVdNaAIY OOF
ZOSPSEOOT “AN “MYOA MAN ‘NT N3GIVI 6S

ZOSPBEOOT “AN “MHOA MN ‘NT N3GIVIA 6S

TTEZO ‘IN ‘ALIS AaSU3S ‘14 HLS ‘OML WZW1d 008

TTEZO ‘TN ‘ALID ASSY3I “1d HL8 ‘OML VZW1d 008

TTEZO ‘TN ‘ALIO ASSYI “Id HLS ‘OML V2W1d O08

p98TO “VW ‘ONIGW3Y HLYON ‘OOP 315 Yd WHWaYIAIY OOF
p98T0 ‘VW ‘ONIGW3Y HLYON ‘OOP JS Yd WYWdyIAIY OOF
P9STO “VIN “ONIGW3Y HLYON ‘OOP ILS “ud WYVaYSALY OOF
POBTO “VN ONIGW3Y HLYON “OOP 315 ‘NO WY VdYIAIY OOF
PG6OZO ‘IN ‘SNONWIAS ‘AMAd SONVIMOGWAN EEE

P9810 ‘VW "SNIGV3Y HLYON ‘OOP 315 ‘dG WuvduaAIy OOP
79810 ‘VW ‘ONIGV4e HLYON ‘OOP 31S ‘ud yYWdHaALY OOP
P98TO ‘VW ‘ONIGV3Y HLYON ‘OOP 315 ‘Yd NUVdYSIALY OOP
OSSZTET PP ‘HO ‘STIIH NJA3S ‘N19 OGUVEINO) COS

b98TO ‘VW ‘ONIGW3Y HLYON “OOP 31S Yd WYVvdYSALY OOF
P9BTO “WIN “ONIGW3Y HLYON ‘OOF 315 ‘YG WYVdUaAIY OOF
P98TO “VI “DNIGWAY HLYON ‘OOF 315 ‘YO NYVad3AIY OOF
P98TO ‘VW ‘NIG Wad HLYON ‘OOP 3LINS Yd MuWd3AIY OOP
P98TO “VIN “ONIGW3Y HLYON “OOP JLINS YO ¥UWdYIALY OOP
v98TO ‘VW ‘ONIC Wad N ‘OOr 31S ‘dO NUVI OOP

P9BTO “VIN “ONIGVAY HLYON ‘OOP ILINS “Ud WUVaYaAIY OOF
vO8TO “VIN 'DNIOWAY HLYON ‘00% ALINS “Yd AYWdyaAIY COP
b98TO "VW ONIGVIY HLYON ‘OOP 3LINS “Yd WY Wd43AIY OOF
P98TO “VN “ONICW3Y HLYON ‘OOP 315 ‘YO NYVaYSAIY OOP
P9BTO “VW ‘NIG WAY HLYON ‘OOt 31S ‘YQ NUVduSAIY OOP
B09PT9ETE “VD ‘DTA JNVILSIM ‘GY VHNOOY TSOTE

v98TO ‘VW ‘SNIGV3Y ‘OOP ‘31S “YC WUWd YIAIY OOP

P98TO “VIN “ONIGW3Y HLYON ‘OOF 315 YO AYVd UIAIY OOP ‘SYBNLYVd SINIYTO OS! ‘NLLW

b98TO ‘VIN “SNIGVAY HLYUON ‘OOP SLINS ‘Yd NeWddaALY OOF
OSSZTET PP ‘HO ‘STIIH N3A3S “YL9 OGYVAWOT Coss

POBTO "VN 'DNIOW3Y HLYON ‘OOP 3LINS SAIN WUVdUIAIY OOF
v98TO ‘VIN “ONIGVIY HLYON ‘OO? 3LINS JANG YUvdNaAIY OOP
b98TO "VIN ‘SNIGVIY HLYON ‘OOP 3LINS JAH YuvduaAlY OOP

OSSZTET bb ‘HO ‘STIIH N3AIS ‘UL OGUYgIWOT 008s

P98TO “VIN “ONIGWAY HLYON ‘OOP 3LINS ‘dd NuWdYSALY OOP
P9BTO “VW ‘ONIGWAY HLYON ‘OOF 3LINS ‘UO WYWdYaALY OOP
P9BTO "VW ‘ONIGVEY HLUON ‘OOp ALIS “Yd WeVduaAIY OOF
p98TO ‘VIN ONIGVaY HLYON ‘OOP 3LINS ‘Yd Wu VddaAlY OOF
P9STO ‘WW 'SNIOVIY HLYON ‘OOb JLINS ‘NC NuWd43ALY OOF
PS8TO ‘VW ‘ONIGW3Y HLYON ‘OOb ILINS ‘YO YUWdYaAIY OOP
OSSZTET bY ‘HO ‘STIIH N3AQS ‘HL OdYYaWO) O0gs
OSSZTET bb ‘HO “STIIH N3AJS ‘YL> OGYVaWOl OOgS

p98TO ‘VN "ONIGV3Y N ‘OOP 315 ‘ud WUVd¥aAlY OOF

TOT bP ‘HO ‘ONVI3A312 ‘SEGS XO ‘O'd

PORTO "WW 'DNIGW48 HLUON ‘OOP ALINS “YG WYVddIALY OOF
v9STO ‘VIN SNIGVIY HLYON ‘OOP 3LINS ‘YO NYd4aAlY OOF
bS8TO ‘VW ‘ONIGVIY HLYON ‘OOP SINS ‘NO NuWd43AIy OOP
POLOS "VIN 'ONIDV3Y 'N ‘OOP 315 HO HU VdY3AIy OO

p98TO ‘VW ONIGV3Y HLYON ‘OOF 315 Yd YuWd YIALY OOP
b9BLO ‘VW ‘NIGV3Y HLYON ‘OOP 31S Hd 4YWd YIAIY OOP
P98TO ‘VIN “ONIGVAY HLYON ‘OOP 315 HO NYWd YAAIY OOP
PIBTO “VIN “ONIGV3Y HLYON ‘OOP 315 ‘YC WYVdUaAIY OOF
P98TO “VIN “ONICW3Y HLYON ‘OOP 315 “YO NuVaNaAlY OOP

ISNYLAY OOTSZ9T
ASNYLIAIY COTSZL9T
ASNdlWy TTEEEsZt
ASNYLINY TOOSTZTZ
Sn liiy T-LOELSEZ
VOM HLYON LSNULIY Teproeez
VOIN3IAV HLYON ISNULIA TépT9e6z
VORIAW HLYON LSNYLA TébT9s6z
VOIdaIN HLYON ISNULAY TépT9oe6z
VOB HLYON ISNULAY TZpT9€6z
WOIWSINV HLYON LSNYLINY TébT9osez
WOMAN HLYON LSNY LA T9eezoze
ANWdINOD JDNVENSNI OOSaM SOOZOOTddM
ANWdINOD JONVENSNI OOS3aM SOOZOOTddM,
VOIMAINY HLYON LSNULINY PpPsTZz
VOIMIINY HLYON LSOULIY PrpsTez
VOINSINY HLYON LSNULI PRPOT Zz
VOIWZINW HLYON LSNeLiWW T9908S0E
VOIWaIWY HLYON LSNYLY TSs90gsoE
ASNdLiy T-pO46T22
ASNYLINY T-pOLeTzz
ASNYLIY TOZPTST
VOIMAWY HLION LSnuLAly TSSs9Tsz
WOIW3W HLYON LSNULA TSssoTsz
WOW HLYON LSNYLINY Tsss9Tsz
ONIVOIIINY HLYON LSNYLWY OO-cé68PTZ7TdaM
ASNYLAY TorEez69z
VN ISNULWY TOSsPEeséz
VN ISNYLIAY Tospeszz

“ONI ‘WOINSWY HLYON LSNULY ZTg0Essz
“ON “VOINBW HLYON ISN ZTs0Essz

JONVUNSNI ISNA T-98ZS9E2

“ONI ‘VIII HLYON LSNULINY TSZggesz
‘ON “WORM HLYON LSNYLy Tszesesz
‘INI “WOIMAIV HLYON ISNuLW TSZesesz

INI VOIUIWY HLYON LSNYLINY Z6SZ0T£z
INI VOI HLYON ISNYLINY 76SZ0T LZ
O32 SNI IVNOILYN ALIHND3S O

“ON “‘WOIN3WV HLYON SNL T-9EbbLez

ONI 'VOIZINY HLYON ISNULIY TSZZz46z
Wold HLYON LSNe Ly E9T96TEZ
ONIVDMAWY HLYON ASN Ly tO-S£Z7Z00TddM
VOMIT HLYON LSnuLuiy TS9set Zz
WOMAN HLYON LSNYLIY TS9S8TZz
VOIN3INY HLYON LSNULWY TS9SBT Lz
DNIVOIIAY HLYON SOLA OO-P9BSSPTddM
WOMAN Y HLYON LSNYLAY TZO€Es Zz
VORAWY HLYON LSNULAY TLOcEszz
VORA HLYON LSNYLAY TZOcEs2z
ASNYLINY TSEs6z7z
ASNHLINY TSES672
ASNulIY TSesezz
ONIVSISINY HLYON ISOLA OO-TSLPSTTddM
ONIVORANY HLYON LSNu iy OO-TS2hSTTddM
ONI VOW HLYON LSNULINY TS9s9Z2z

VOI HLYON LSNY LAY T-6£90T0€

“ON! “VOIUSIY HLYON ISNA T-L6E6SEZ
“ONI ‘WOMANI HLYON ISNA T-L6E6SEC
“INI “WOMAN HLYON LSAYLIN T-L6E6SEZ
Lsnuly T-LEeceez

SINVENSNILSNMLAY TESg6rZz

SONVUNSNI ISNYLAY TESsséepez

JONVUENSNI LSNYLY TISe6pZz
Lsnulwy E-EGLOELT
4Asnulwy E-EDLOELT

HLH3-HLH3-TOPZ7TZZE8S
HLH3-HLH3-TOPZZTZZE85
HLH3-HLH3-TOESbrs6Tés
HLH3-HLH3-TO00/608E600
HLH3-HLH3-TOZS899PT TO
HLH3-HLH3-TOS96PrELPO
HLH3-HLH3-TOS96rreZbo
HLHI-HLH3-TOS96brELPO
HLH3-HLH3-TOS96PrELPO
HLH3-HLH3-TOS96PPELPO
HLH3-HLH3-TOS96PPEZPO
HLH3-HLH3-TOSEZP9EZSO
HLH3-HLH3-TOTSZS04 P90
HLH3-HLH3-TOTS¢soZP90
HLH3-HLH3-TOTeS821590
HLH3-HLH3-TOTpsezTs90
HLH3-HLH3-TOTPSsz7s90
HLH3-HLH3-TOP696Z4290
HLH3-HLH3-TOP69672290
HLH3-HLH3-Z086SS87690
HLH3-HLH3-Z086SS87690
HLH3-HLH3-TOST92Z £690
HLH3-HLH3-TOS9SesE690
HLH3-HLH3-TOS9SEse6g90
HLH3-HLH3-TOSs9sese6a0.
HLH3-HLH3-TOz98E8Z020
HLH3-HLH3-TOvZS2ZeT ZO
HLH3-HLH3-TOOOSTZP £0
HLH3-HLH3-TO00STZPL20
HLH3-HLH3-TOZ0zZS9£080
HLH3-HLH3-TOZ07S9€080
HLH3-HLH3-TOpogst¢sogo
HLH3-HLH3-TOSZeporz30
HLH3-HLH3-TOsZeror~so
HLH3-HLH3-TOSZ€rOpz80
HLH3-HLH3-TOOfSPsreso
HLH3-HLH3-TOOES#Sbe80
HLH3-HLH3-TOOSTE99260
HLH3-HLH3-TOZT 692 P27T
HLH3-HLH3-TOSPSsozézT
HLH3-HLH3-TOTZOSbrEET
HLH3-HLHI-TO8S89PsereT
HLH3-HLH3-TOPSzs0bZbT
HLH3-HLH3-TOPSz90P7PT
HLH3-HLH3-TOpSZ90PZ PT
HLH3-HLH3-TOTL9 2 pLorz
HLH3-HLH3-TOOzOL8S6rz
HLH3-HLH3-TOOzOzss6Prz
HLH3-HLH3-Toozozeserz
HLH3-HLH4-TOSéZ1099Sz
HLH3-HLH3-TOSZZT099Sz
HLH3-HLH3-TOSé2T09SS2
HLH3-HLH3-TOESBO0ET SS
HLH3-HLH3-TOES800ET SS
HLH3-HLHA-TOL87z2b8z8S
HLH3-HLH3-TO696620065
HLH3-HLH3-TOpZs60se6s
HLH3-HLHJ-TOPL860SE6S
HLH3-HLH3-TOPZ860SE6S
HLH3-HLH3-TOEZPEZZLZT
HLH3-HLH3-TOP9PT9EOLO
HLH3-HLHI-TOpoPTSeozo
HLH3-HLH3-TOPSPTSE0L0
HLH3-HLH3-TOTTSTOEPZo
HLH3-HLHI-TOTTSTOErZo
Page 5 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

HLHI-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
H1LH3-HLHZ
H.LH3-HLH3
HLH3-HLHS
HLHa-HLH3
HLH3-HLH3
HLH3-HLHA
HLH4-HLH3
HLH3-HLHI
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLHd-HLH3
HLH3-HLHA
H1LH3-HLHa
HILH3-HLHS
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
H1IH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HILH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH4
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH9
HLH3-HLH3
HLH3-HLHJ
HLH3-HLH3
HLH3-HLH4
H1IH3-HLH3
HLHa-HLH3
HLH3-HLH3
HJH3-HLH3
HLH3-HLH3
HJH3-HLHI
H.LH3-HLH3
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3

Ageuiid si opne 3

Aleuid sl eoueunsuy AIqel| 4a430 Auepuoses BIEIPAW] sp
Aleuuitid s} a2ueinsul Ap|iqel] 48430 Auepuodas auesIpaI) Zp
Avewiiid s] aueinsul Ap}iqel| ayo ALepUOras auedIpaLy zp
Ageuuud s! aoueunsur Aqyiqel JayjO Mepuases aiesipay /p
Agewiid $1 aaueunsuy Aqi]) el] 44,0 AWepuaoas asesIpay! sp
Ageusiid s} aoueunsul Apiiqel] 48430 AUepuozas aueaIpa Zp
Agewid s| aoueunsul Aqiyiqel| sayyo AUepuodasS sueripayy fp
Auewid si s9ueinsul Ay Jayyo Avepuosss auesipay) sy
Ageulid si aaueunsuy Ay 43410 Alepuoaas aueripayy sp
Aubuuid s} a2ueunsuy Ay Jeyjo Arepuoras aiesipal sp
Auewud s} a3ueunsul Ay dayjo Arepuosas aedipayy ép
Ageuiud s] aUBINSU! AY Jayyo Alepuodas sueaipayy sp
Aseuiud s| @2UeINSUI AY, Jayjo Alepuodes aiesipay sp
Agewild si adueinsuy Ay, J3yj0 Alepuaass auesipay sp
Ageuilid Ss! aoueunsur Ay Jayjo AUepuosas auespay sp

Agewid s] OyNe duipnjsu; sauesnsuy jNej-on AUepuoras alerpaiA) PT

Aueuiid $! aaueinsul Aq, Gel] 48430 Auepuoras auesIpay, /p

Agewaid
Auewyid
Agewiid
Agewiid s) soueunsuy AqiIgel| 48430 Arepuozas aie9!
NjIu) QuUeINSU! 4INeJ-ON Auepuoras aed)

ds} BQUeINSU! AdWIqel) 18430 AUBpUddaS BeIpa, sp
ds} aoueINsU! AyIqeI JayjO AIepUOdEs ales|paYy Zp
ld si] aoueunsu! AqI|IGel] JaYJO AUepuasas BeIIpay, /P
Jud s1 e2ueunsul Ayjiqel] 4ayjo Auepuozes auesipayy sp
Agewuid sj aoueunsul Aqiiqel] 43430 Aepuoras aieaipayy Zp
Ageuiud s} aoueunsu) Ayliqel) 42430 Aepuozas auesipaly ft
Aveuitid st soueinsul Ajliqel) 48410 Auepuooas auesipaly) fp
Aged s} adueunsur Aqiiqey 4ayiO Adepuosas auesipayy sp
Aveuiid si aouesnsul Aiiqel| JayjO AIepUCdas asesIpayy Zp
Aged s! aaueunsut A Bl] 4aYJO Alepudsas ayerIpa;, sp
Ajewilid si aouesnsul Aj Bi] J4}O Adepuosas asesipayy sp
Aseuulid s} eoueunsul Ayyigel] 4ay}0 Auepuogas SJEIIPAW fp
Auewiud sj a2ueinsul Ayiqel| 48430 Aiepuozas aueaipal >
Auetuid si s9ueunsul Ay et] 4eyZO AWEpUosas auedipayy sp
Avewiud Ss} a2ueunsuy A BI] 494}0 ANEpUuoaas aiedipayy zp
Auewid s} asueunsur A: Bl) 4OYIO AUBpUaraS suesipayy sp
AeWILd s| aDuUeINSU! Ajiqey say Auepuosas aiedipay sp
Ageuid si) adueinsuy Agel] JayjO Alepuodas aseaIpeyy fp
Auewihid s] souesnsul AqIgel] JaYyJO Alepuozas auesIpal sp
Ageusiid s} aoueinsul Ayjiqel| 4ayy0 Auepuodas aueaipayw fp
Auewlid s} a9ueunsul Ayijiqel zayyo Alepuosas sueaipay ép
Aueulid $1 aaueunsuy Ay 4ayjo Alepuosas auesipay fp
Agewiid si agueunsul Ay 4ayio Arepuoras aueripaly] /p
Aged s] a2uesnsuy A3I)! Jeyjo Alepuoras auesipaly /p
AJeLuULud S| @dUeuNsu! Ay Iqel] 4eYIO AIEPUOdAS aledIpayy Zp
AgeWuLd $1 @oueunsul Aqiiqey 4ay}0 AIepuosas BIBIIPSA /p

Avewiiid 5) oyne duipnjau) eaueinsul yne4-on AlepUoras asezI1paly) pL
Ageuulid s| o3ne dulpnjau; soueinsul ynej-on Alepuozas SIEIIPBYY PT

Ageuilid s! aaueunsul Ayiiqel) Jayi0 AUepuosas auesipalyy sp
Ageusnid s} eoueunsul Aqi|iqel Jay30 Aepuosas ouesipayy fp
Ageuwiud 5] aaueunsur Ajyiqel] Jayjyo Auepuosas Bespayy sp
Agewiid s] aoueinsu) AQijiqel) 19430 Alepuosas auesipayy zp
Aueuwid si aoueunsuy Aypiqel] 4430 Alepuooas suesipayy fp
Aveuwipid si adueinsul Ayiqel] Jayjo AIEPUOdaS alesIpay sp
Aged $i aaueunsul Ay
Agewilid s} aaueunsul Ay
AuewiLid si soueunsul Aji|IGel| JayyO AUepuoras ases|pay; fy

P98TO “VIN “ONIGV3Y ‘OOF 3LINS ‘Yd WuvduaAly OOF

POSTO ‘VIN ‘ONIGVY “OOP FS ‘NC NYWdUIALY OOP

P9BTO ‘VW “ONIGW3Y HLYON ‘OOP 3LINS Ud NY WdUaAIY OOP
v98TO ‘VW ONIGW4AY HLYON ‘OOP 2LINS HO WYVdYIAIY OOP
P98TO ‘VW ‘DNIGWIY HLYON ‘OO? LINS YO WHVdN3AIY OOP
b98TO “VIN “ONIDVIY HLYON ‘OOP 3LINS ‘JAING SNuWd43AIY OOF
P9STO “WW ONIGV3Y HLYON ‘OOP 3LINS “JAING SNuWdYaAIY OOP
v98TO ‘VW SNIGW3Y ‘O0p 3LINS ‘AAING Mud YIALY OOP
v98TO ‘VW ‘SNIGW3Y ‘OOP 3LINS ‘IANO YuVd Y3ATY OOP
P98TO ‘WW ‘ONIGW3Y HLYON “O0b JLINS YO NYVayaAlY OOP
P9BTO ‘VIN ‘ONIGW3Y HLYON ‘OOP 3LINS UG WuWdySALY OOP
P98TO “WW ‘ONIGV3Y HLYON ‘OOb 31S “dd WY WduaAlY OOF
P98TO “VIN ‘ONIGW3Y HLYON ‘OOF 315 “YG WYVdUaALY OOF
P6020 ‘IN “SNINVOAS ‘AWMeVd SONY] MOavalN Eee

bE0LO ‘TN “SNINWOIS “AVMAN Vd SONY] MOaVaIN Ese

p98TO ‘VW ‘ONIGVIY N ‘OOP 3LINS ‘dO WYVaNaAIY OOF

bS8TO ‘VW ‘ONIC WAY N ‘OOP 3LINS ‘HG YuvauaAIy OOP

v98T0 ‘VW ‘ONIG VAY HLYON ‘OOP JLINS JAG NYWdYaAly OOD
P9810 ‘VW ‘ONIGW3Y HLYON ‘OOP 3LINS JAluG Wuvd¥aAIY OOL
p98TO “VIN ‘ONIGWIY HLYON ‘OOP JINS AIC WeydyaAlY OOF
ZOSPBEOOT ‘AN “XYOA MAN ‘NT N3GIVIN 6S

ZOSPBEOOT “AN YOA MN ‘NT N3GIVIN 6S

ZOSPBEOOT “AN NYOA MN ‘N71 N3GIVIN 6S

P98TO ‘VW ‘ONIGV3Y HLYON ‘OOP 315 “YO Wud H3AIN OOP
b98TO “VW ONIGVIY HLYON ‘OOr 315 ‘YO WUVd Y3AIY OOP
20220 ‘AN ‘ANWE1V “960ST XO8 Od

P98TO "VIN “ONIGV3Y N ‘OOP 3.LINS ‘YO YuWd Y3ALY OOP

POSTO “WIN ‘ONIGW3Y N ‘OOP SLINS ‘YC duWd H3ALY OOP

P9STO ‘VN ‘ONIGWIY HLYON ‘OOP 3LINS “Ud NuWdUaALY OOP
P98TO ‘VIN ‘ONIGV3Y HLYON ‘OOt JLINS ‘YO NuVdyaALY OOF
POTOS “VIA ‘ONIOVY 'N ‘OOP 315 YO WHVdd3AIY OOF

$9810 ‘VW ‘SNIGW4Y HLYON ‘OOP LINS YO Nuvd Y3AIY OOF
b98TO ‘WA ‘ONIGW3Y HLYON ‘OOb LINS HO Nuvd YIAIY OOP

TPOOT ‘AN ‘AYOA MIN ‘198495 Jayem ss

POBTO ‘WW ‘SNIOVIY N ‘OOF 315 30 YVdNIAIY OOP

POBTO ‘WN ‘ONIGV3Y N ‘O0r 315 30 WYVdHAAIY OOF

v9BTO “VIN “DNIOVIY HLYON ‘OOF ZILNS HO NY Y3ALY OOF
p9BTO ‘VIN ‘ONIGVAY HLYON ‘OOP 3LINS ‘YC MYVdY3AIY OO
P9810 ‘VW “ONIGVIY HLYON ‘OOP 3LINS ‘dO WuVdd3AIY OO
P9BTO ‘VIN “ONIGV3Y HLYON ‘OOP ALINS ‘YO WYvd¥aAly OOP
P98TO ‘VIN “SNIGW3Y HLYON ‘OOP 3LINS “Yd WUWayaALY OOP
COSPSEOOT ‘AN “HHOA M3N ‘N1 N3IVW 6S

ZOSPBEOOT ‘AN “HYOA M3N ‘N71 NSW 6S

b98TO ‘VW ‘ONIGW3Y N ‘OOP 31S “Yd WuvddaALY OOF

P98TO ‘VIN “ONIGW3Y N ‘OOP 315 “YO NYVduaATY OOF
SEGTTOT bb ‘HO ‘GNWIAR1D ‘SE69 XOU Od

SE6TLOT bP ‘HO “ONVIAI1O ‘SE69 XOE Od

SEGLTOL PP ‘HO ‘GNVIAR19 ‘Se69 XO8 Od

TOTP ‘HO ‘ONV13A3T19 'SE69 XOS Od

TOT bY ‘HO ‘ONV13A319 'S€69 XO8 Od

P9810 ‘VW ONIGV3Y HLYON ‘OOP 315 ‘dd NuvddaAly OOP
P9BTO ‘VIN ‘ONIGW3Y HLYON “O0b ALINS ‘JANG WNVdYaAIY OOP
TOT bP ‘HO ‘ONV13A379 ‘SE69 GOd

OSSZLET PP “HO ‘STIIH N3A3S “YL CQNVEINOT 008S
OSSZLETP ‘HO 'STIIH N3A3S “819 CONVENT OOss

v98TO ‘VIN ‘SNIOVIY HLYON ‘OOF 315 ‘YO HYVdYIAIY OOP
v98TO ‘VIN SNIGVIY HLYON ‘OOP 315 ‘NO WuVdY3AIY OOP
P6020 ‘IN ‘SNONWDAS ‘AWMAY Wd SONVIMOdV4aV €Ee
P6020 ‘IN ‘SNINWDAS ‘AWMMAUWd SANVIMOUVaN cee
P9BTO ‘VW ‘ONIGV3Y HLYON “OOPaLINS JAG YVdyaAIY OOP
v98TO “VIN "SNIOWIY ON ‘OOb 31S YC AYWdH3AIY OOP
p98TO ‘VW DNIGWAY ON ‘OOP 315 YG NYVd¥3AIY OOP
P9BTO “VW 'SNIGV3Y N ‘OOP 315 ‘uO NN Wdd3AIY OOF

v98TO ‘VW ‘DNIOW3Y N ‘OOp 315 ‘YO NuVdN3AIY OY

ASML T96TEZZ
ASNYLINY T96TELZ

WORN HLYON LsneLwy T-S6S09E7
VYORAWY HLYON LSnd ly T-S6SO9EZ
VOIWAWIY HLYON ISN LA T-S6S09EZ

ASNULINY TOLPZEZZ
ASNULINY TOLeZEzZ
ASML T8eosesz
ASNULIY TeEosesz
ASNULINY BETEOLZ
AISNYLAY BETEOLZ
WOMAN HLYON LSNYLAY Té6vezsz
VONMAWY HLYON ISOLA TLevezsz
‘OD JINVYENSNI ADOIONHD3L 88627 ZT
“OD JINVYENSNI ADOTONHI3L 886ZTZT
ASNULINY 86628266
ASNULINY ETTOZZLE
“ON “‘WOINIANY HLYON LSNULIAY TZépogsz
“ONI ‘WOINIINY HLYON LSNULWY TZZpogsz
“ONT "WOW HLYON LSNYLWY TZZpoesz
ANWdINO3 JONVYNSN! ADOTONHD3L OO-S9ECTOTddL
ANVdWOD JINVUNSNI ADOTONHDSL OO-SSEZTOTddL
ANWdINO3 JONVENSNI ADOTONHIAL OO-S9EZTOTddL
ASNYLINY E6926P6T
ASNULINY E69C6r6T
VOIN3INY HLYON LSNYLAY £2EL90Tdd Lh
ASNYLINY T60SZ262z
ASNULINY T60S2622
VOI HLYON LSNULAY Térp.o2z
WOMAN HLYON ISOLA TéppLocz
ASNYLINY T-LS099¢T
‘INI ‘WOIMAWI HLYON LSNULINY ZTOTSOZP
“ONI “WOINIIWY HLYON LSNULIAY ZTOT80Zb
VOINJINY HLYON ISNULIY OO98Z8T
VOIR HLYON ISNYLAY 009878T
ASNYLAY BTESZZz
ASNyLiy 6TEeszze
ASNYLINY Eps/egTEe

ON] “WOIMSINY HLYON LSAYLIAY T-SS6ET8Z
“ONI “WORMS HLYON ISndLiy T-SS6ETSz
“ONT 'WOINBIAIY HLYON ISOLA T-SSG6ETSZ

VORA HLYON SAYA TZgezsoz
ANVdINOD JONVENSNI ADOTONHDIL PO-ZPEO00TddL
ANWdINOD JONVYNSNI ASOTONHI3L PO-ZPE000TddL

ASNYLAY fBEz60Lz
ASNYLINGY ZBEZEOLE

VOINJIAY HLYON LSNdLAY T-pOveset
VONMAIIY HLYON ISN ly T-pOreest
WORMSWY HLYON LSNULY T-pOpe6sT

JONVENSNI VOIMIWY HLYON LSNULAY ST+38T'Z
JONVENSNI VOSA HLYON LSNULAY ST+38T'Z
ASNULINY TEGessoz
ISnuliy TsoPpso0e
WOSWY HLYON 40 ISNULIWY Zz2Z00Sz
ONIVOANY HLYON ISN lA €0-9S7Z00TddM
ONIVIAIAIY HLYON LSnu Ly €0-9S7Z00TddM
VOSA HLYON LSNULIA Tesoroez
VOI HLYON LSNULiy Tessroe7
ASML STTEerZr
ASNULAY STTeret
ONI 'VOIN3INV HLYON ISAULINW Tre6esTz
LSNYLIANY T6ES68PT
LSNYLINY T6E968PT
ASNYLAY TESZ9E6T
ASNYLINY TESZSEGT

HLH3-HLH3-TOOrEe6rSé20
HLH3-HLH3-TOOrE6PSZ0
HLH3-HLH3-TOZ8079E8Z0
HLH3-HLH3-TOz8079E8/0
HLH3-HLHI-TOz8079¢E8zZ0
HLH3-HLH3-TO6éET Perso
HLHJ-HLH3-LO6ZET PP bso.
HLH3-HLH3-TOSE/TPEL8O
HLHa-HLH3-TOSEZT PEL8O
HLH3-HLH3-TOSSPZPELBO
HLH3-HLH3-TOS9pZPEZ80
HLH3-HLH3-TOTZSZ789Z60
HLH3-HLH3-TOT2Se¢89z60
HLH3-HLH3-Toes98se960
HLH3-HLH3-TO69988£960
H1LH3-HLH3-TO866€82660
HLH3-HLH3-TO866E82660
H1LH3-H.LH3-TO8T9O9EOOT
HLH3-HLH3-TO8T9OSE00T
HLH3-HLH3-TOST9O9E00T
HLH3-HLH3-TO9SZ¢2POOT
HLH3-HLH3-TOSSZPZP00T
HLH3-HLH3-TO9S/P7PO0T
HLHS-HLHS-TOEPPESETOT
HLHI-HLH3-TOEPYESETOT
HLH3-HLH3-TOEPPESETOT
HLH3-HLH3-TOGO6ES PLOT
HLH3-HLH3-TO6O06E8r7TOT
HLH3-HLH4-TOZ2T SPP EOT
HLH3-HLH3-EOZZT9PbEOT
HLH3-HLH3-TO¢S6TOP60T
HLH3-HLH3-TOEZTZSP60T
HLH3-HLHI-TOEZT/SP60T
HLHa-HLHI-TOLSPOSrELT
HLH3-HLH3-TOLSPOSPETT
HLH3-HLH3-TOLZSPOESTT
HLH3-HLH3-TOLZSPOESTT
HLH3-HLH3-TO98Z98Z2TT
HLH4-HLH3-TOTSSPSe6Tt
HLH3-HLH3-TOTSSPSE6TE
HLH3-HLHA-TOTS9PSE6TE
HLH3-HLH3-TOsPzoorT ZT
HLH3-HLH3-TOSZST9Erzr
HLH3-HLH3-TOSZST9EPZT
HLH3-HLH3-TOSecoszszT
HLH3-HLH3-TOSPZ08Z8zT
HLH3-HLH3-TOSOESZS8zT
HLH3-HLH3-TOSOES7 S827
HLH4-H.LHI-TOSoEszse2r
HLH3-HLHI-TOse9errezT
HLH3-HLH3-TOSS89errezT
HLH3-HLH3-TOTEQESEDET
HLH3-HLH3-TOESOTSTTET
HLH3-HLH3-TOTPSZPETET
HLH3-HLH3-TO6/ P979T Pe
HLH3-HLH3-TO62P929T bz
HLHJ-HLHI-TOLEL9 PB pSz
HLH3-HLHA-TOLELSP8hSZ
HLH3-HLH3-TOPS868sssz
HLH3-HLH3-TOpss6easss7z
HLH3-HLH3-TOZ LZ P9997
HLH3-HLH3-TOepopogzes
HLH3-HLH3-ToEerspagess
HLH3-HLH3-Todécg06zes
HLH3-HLH3-TO¢é 2806285
Page 6 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

dV4H-dWdH
d¥dH-dW4dH
dViH-dVdH
dW4dH-d¥dH
dW4dH-d¥dH
dV4dH-d¥SH
dW4H-d¥dH
dW4H-dVdH
dVdH-d¥4dH
dV4dH-d¥dH
dVdH-dW4dH
dVdH-dW4H
dW¥4dH-d¥dH
dWdH-dWdH
d¥dH-dW4H
d¥4H-dV4H
dV4H-d¥4H
IdINd-Id Nd
IdINd-IdINd
IdWid-Idiid
Q3W-SINI
WIS-DINI
WIS-3IAIL
AQS-SVDH
AOD-SYDH
AOD-SVDH
AO3-SVDH
AOD-SVDH
AOD-SYDH
AQD-SVOH
AQD-SVDH
AOD-SVDH
dV4H-dVdH
dV4H-dVdH
H.LH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLH3-HLH3
HLH3-H.LHI
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH9
HLH3-HLH3
HLH3-HLHA
HLH3-H.LH9
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3
HLH3-HLHI
HLH3-HLHI
HLH3-HLH3
HLH3-HLH9
HLH3-HLH9
HLH3-HLH3
HLH3-HLHa
HLH3-HLH3
HLH3-HLH3
HLH3-HLH3

Asewiid 5} a2ueunsut Ayijiqel Jeyyo Aiepucaas BIEIIPIIAl sp
Agewuid s} a2ueunsuy Aqijiqel) Joyo Alepuoras aieripayy Zp
ABWULd 5} OVNe Sulpnjou! soueunsu! yjne{-oN AJepuodas aierpay pT
Aseuiiid st ojne 3ujpnjou! aauesnsul yjMe4j-ox ALepuosas alerpayy pT
AJewLd $s] ONE Bulpnjou! e2uesnsu! yNej-oN Alepucsss aseTIpPayy pT
Aueuilid s} one duypnjou) saueinsul ynej-on Auepuoras asea1pal! pL
Areuid s| a2uensul Ajliqel Jayjo Auepuozas auerlpayy sp
Ageuijid s} oye Suipnjsu! aauesnsul yjne4-on AUepuosas siespay pT
Auewiid $i eaueunsur Aqyiqel] 4ayjo Aepuoses sieapayy ép
AdeuLid s} oyne Iupnjouy aoueunsu yney-on Avepuosas aiesipay| PT
Agewid si oyne Bupnjauy aoueunsul yNey-ON Aepuodas siedIpalAl PT
Auewid s] a2ueunsul Ayiiqel Jayyo Auepuczas BIEIPSA) Ap
Agewiid 5] a2ueunsuy Ajijiqel say. Alepuosas auesipalyy sp
Agewqid s! oyne Suipnjau! s9ueinsul ynej-on Alepuosag sueaipayy pT
Aseulid $1 oyNe duipnjaui aaueunsul yney-oN AIBpudoas ayeoIPay pT
Asetuiid s} o7ne Suipnjau) soueunsur yne4y-on Arepuozes SIEIIPSW) pT
Aveuid s} oyne Buipnyjou! eauesnsul ynej-on Alepuozas SIEIP A] pT
Adeuijid 5] oye Sulpnjau! aaueinsul yjnej-on AIepuodas auesIpayy pT
Agewuid $s] Oyne Fulpnjau! sauesnsul yne4-on Alepuosas aieripayy pT
Agewuid s! oye dulpnjou; aaueinsur jjnej-on Auepuosas BIEIPIA) PT
AgewIid 5) one Bujpnjou aoueinsul ynej-ox Awepuoras auedipayy pT
Asewisd s| one Supnjau! aouewnsuy ynej-on Alepuosag aiesipayy pT
Aewud $s! aouesnsuy Gel] JaY}O Alepuozas suesIpayy /p
AgetuLid si oyne Sulpnjau) aaueunsul yjne4-on Auepuores SIEIpEW pL
Adeuulid s) one Bulpnyjou! aaueinsu! yne4-on AUBpUuodas auesipay) pl
Aueuwud s! asueunsur Ayijigel) sayjo Alepuocas aueaipay) sp
Ageuujid s] 0}Ne Sulpnjou) ssueinsur yne4-on AUBpUodas areaIpayy YT
Aseutlid s| ojne duipnjau! aaueunsul yjne4-on Agepuosas auezIpayy pT
Agewid $1 one Suipnjau! aduesnsyy yjne4-on AUepuosas BIEIIPIA] pT
Aeuilid s| One Buypnjau! aouednsul ynej-oN ALepuorag aierIpayy pT
Aged si ojNe Zujpnjaus a2ueunsul 3jneJ-on Arepuozas SIBIIPSW pT
Aseuilid s) ojne duypnjoul saueinsul yne4-on AlepUoras auedIpalA) pT
Ageuujid s] a2UeINSU! Ajjiqel] ayo AUepuodes auedipayy sp
Agewiud s} aoueunsuy Aqiigel| 4ayj0 ABpUodaS alesIpayy sp
Augeulid $i eaueunsul Ayiqel 4ayj{O Auepuosas aiesipayyy fp
Agewiid s! esueinsul Ayiqel| 48430 Auepuosas auesIpaW) >
Ageusyid s| eoueunsul Ajiiqel| Jayyo Azepuoras asesipayy cp
Aged si aoueinsur AqIqel] Ja4y30 Aepuosas aiesIpay fy
Alewlid $1 aaueunsuy Ay Jel| JOY Auepuasas sleIIpay) fp
Aeuiuid s} aouesnsul Aqjiqel| 48430 Auepuosas aue21pal) ép
Atewiiid s) a2ueunsul Ajyiqel) eyo AWepuoras auedIpeyy cp
Ajeuiud s| aoueunsul Ayjigel Jayjo AUepuoras aiesipay sp
Ageuijid si aoueunsut AqIqel] Jay AIepUOdas auesipayy sp
AgewiLid s} saueinsul Ay[Iqel] Ja4y]O Auepuodas siesIpay; sp
AgewiLid s} soueunsul Aj}IGel] JayO AUepUodaS aueD|pa|; sp
Ageuiyid s| eouesnsul Ayiiqelj 4ayjo Aepuozas auesipala fp
Aged st souensu! Aqyiqe! sayyo Aepuasas aueripayy zp
Agewid s| oyne Suipnjsu! sauesnsuy yne4-ON Alepuodag eseoipayy pT
Aled s} oyne Suipnjoul auensul yne4-on ALepuoras aueapayy pT
AgeuiLid s} OyNe Suipnjaur aaueunsul 4Ne4-ON Asepuodas aiesipayy pt
Aseullid SI BUEUNSU! ALiIqel] JaYJO AIEpuoras auerIpayy sp
Ageuiid si aaueunsuy Aqyiqel sayj0 AJepuodas suesipayy sp
Auewiid si @aueunsuy Aqiyh 21] JaYyjO Adepuosas alespayy Zp
Ageuiuid s) eoueunsut Ay|Igel] 4ay}0 AUepUOdas aserIpPaL| sp
Agewiud s] eauesnsul Aji|iqel| 4ayio Avepuovas suesipala) fp
Asewijid 5} a2ueunsul Ajyiqel) ayo Asepuozas BIBIPaW sp
Aged si a2ueinsul Aqiigel 4eYyyo ANepuoras aiedipay fp
AsewLd Ss} aDUeINSU Alyiqel) JeYyIO AJEPUdA|S auedIPayy sp
Ageuuid s1 aaueunsur Ayiiqel 4ayjo AUepuoses auesipayy fp
Auewjid si aoueunsu! Aqqel] JayyO AuepUuoras auesipayy sp
Auewilid $! soueinsul AjyIqel] 4ay}O ALepuosas Seopa Ly
Agewud $i adueunsul Ay Iqel| JoyJO Alepuosas suesipay; sp
Aseuijid s} a2ueuNsU! AyI|IGel| JeyI0 Auepuoras auesIpayy /p
Aleuuiuid s} aoueinsul Ayyiqel] 4a4yj0 Auepuooas aueaIpay) Zp
Ageuinid 5] a2ueINsU! AyIliqel J8yIO AIEPUODAS aleaIpayy fp

9ZTEL ‘NO ‘ALID VANOHVINO ‘P66892 XOU Od

S7TEZ AO ‘ALID VWOHVINO “P66892 XOB Od

B09PTSETE “VO ‘DIA INV USIM ‘GY VENODY TSOTE
OOOOTSETS ‘VD ‘DVTIIA JVILSAM ‘VOY WUNOOY TSOTE
SO97TSETG WO ‘DTA INVILSIM ‘GY VUNODY TSOTE
B09PTSETE ‘WO “DTA INVILSIM ‘GY VUNOOV TSOTe

PIBTO “VIN “ONIOV3Y HLYON ‘OOP 315 YO WYVdYRAIU OOF
P98TO ‘VW ‘ONIGW4Y HLYON ‘Ot ALINS “JAING NuvdySAIY OOY
P98TO WIN ONICV4Y HLYON ‘OOP ILINS “IAIN WeVdUaAIY OOP
BO9PTIETG “WD ‘OTA SNVILSAM ‘OY WUNOOYW TSOTE
SO9PTSETE VD ‘DIA JNVILSAM ‘dy WHNOSY TSOTE
£S40S9ZSZ “XL “SvTIVG ‘292059 XOG Od

49205974 “XL “S¥TIVG ‘£92069 XO Od

SO09PTSETE “V3 ‘STA aNVLISIM ‘GY VENOOY TSOrEe
S09PI9ETE “VO ‘STA INVUSIM ‘GY VENOOY TSOTE
BOSPTIETE “WO “STA SAV ILSIM ‘OY VENOOW TSOTE
BO9PTIETE ‘WO "DTA JNVILSIM “dy WuNOOY TSOTE
QOOOTSETE “WI ‘OVTHIA JAVILSAM ‘ GVO" WuNOOoY Tsote
QP9PSEOOT “AN “NYOA MAN ‘9 14 NT NCI 6S

E66S9ZTEL “NO ‘ALID VNOHWINO ‘£66892 XO8 Od
SO9PTSETG ‘VO ‘DIA JAVILSIM ‘de VENOOV TSOTE
Sb9PBEOOT ‘AN “YYOA M3N ‘9 14 NT N3GIVIN 6S

TOLPY ‘HO ‘ONW13A312 “bZSb6 XO" Od

B09¥TSETE “WD ‘OIA SNVILSSM ‘OY WUNODY TSOTE
BO9PTIETE “WO “DTA INV ILSIM ‘OY WuNODY TSOTE
SO9PTSETE “WO ‘DIA JNVULSIM ‘GY VUNOOW TSoTS
SO9VTSETS ‘WO ‘DIA JNVUSIM ‘GY VUNOOY TSOTES
BOSPTSETS ‘VO ‘OTA aIVILSAM ‘Y VENOOV TSoTE
Ob9PBEOOT “AN “XYOA MAN ‘9 14 N17 N3GIVIN 6S

B09PTSETE “VO ‘STA JNVUSIM ‘dd VENOOY TSOTE
S09PT9ETE “YO ‘STA aNVLISSM ‘OY VENOOY TSOTE
BOSPTIETE ‘WO “OTA JAVILSIM ‘OY VENOOW TSOTE

P98TO “VIN “ONIGV3Y HLYON “OOP 315 Yd WNW YSALY OOP
P98TO ‘VIN ‘ONIGV3Y HLYON ‘OOP 31S Yd Wud Y3AIY OOP
vOBTO “VW “DNIGW3Y HLYON ‘OOF 315 ‘YG WYVdYIAIY OOP
P98TO “VIA SNIGVAY HLYON ‘OOP 315 ‘YG WYVdd3AIY OOP
pS8TO ‘VW “ONIGV]Y HLYON ‘OOP ALINS YO WUVdNaAlY OOP
P98TO ‘VW “ONIGW3Y HLYON “00b 3LINS UG AUVdYaAIY OOP
b98TO “WIN ‘ONIGV3Y HLYON ‘OOP JLINS YC NYVd¥IAIY OOP
ZOSPBEOOT ‘AN ‘XYOA M3N ‘N1 N3GIVW 6S

ZOSPBEOOT ‘AN “HYOA MAN ‘NT N3GIVIA 6S

POSTO “WIN ONIGV4Y HLYON ‘00% JLINS “YO Na wadaArY CO
POSTO “VIN ONIGV3Y HLYON ‘Ot FLING “YO Had 4aAIY OOF
$98TO ‘VI ONIGW4Y HLYON ‘OOP ALINS “JAW YuvdyaAlY OOF
TOT tb ‘HO “ONW13A319 ‘Se69 KOR Od

TOL vr ‘HO ‘ONV13AI19 ‘SE69 XO8 Od

PO8TO “VIN “ONIOW3Y HLYON ‘OOP 315 YO AHVdUIAIY OOr KOS Od
PLEOE “VD “VINWLIV ‘ZPO0RL XO8 Od

PLEOE “VO ‘WINVLIW ‘ZPOOb~ XOE Od

VLEOE “VO ‘VINVLTV ‘ZPO00P2 XO8 Od

POZEO “WIN ‘DNIGVIY HLYON ‘OOF 3LINS Yd WYWdNSAIY OOF
P9TEO ‘WI ‘ONIGW4Y HLYON ‘OOP ALINS YO WY VaNaAIY OOP
TOTP ‘HO ‘GNVIA319 ‘S€69 XOd Od

bOZEO ‘VIN ‘ONIGW3Y HLYON ‘OOF SLING HG HYVdYaAIy OOP
TOT vy ‘HO ‘ONW1A3I9 ‘SE69 XO8 Od

b9ZEO “WW ‘ONIGV3Y HLYON ‘OOP ALINS YC WUVdYIAIY OOP
PO8TO “WIN “ONIGV3Y ‘OOF 3LINS “dd WYVd¥IAIY OOF

P98TO “VIN ‘SNIDV3Y ‘OOF ZLINS “YC NYVdYIAIY OOP

P9BTO “VIN ‘ONIOVAY ‘OOP 3LINS “YG WYVdaAIY OOF

POBTO ‘WIN ‘SNIGVIY HLYON ‘OOF JLINS Yd WevdYSALY OOF
P98TO ‘VW ‘SNIGVAY HLYON ‘OOP JLINS YO WY Vd43AIY OOr
P98TO “VW ‘ONICW3Y HLYON ‘OOP 315 ‘Gy wud ¥aAIy OOP
b98TO "VW ‘ONIGVAY HLYON ‘OOP 31S ‘GY WHVdN3AIY OOP
P9810 ‘VW ‘ONIGVAY HLYON ‘OOf 315 ‘OY WYVdYIAIY OOP
P98TO ‘VIN “ONIGV3Y HLYON ‘OOP 31S ‘OY NYVdyaALy OOP

JONVYENSNI IVNOLLWN ALIYNDIS §=§©9Z TPEOLOOD000E
JONVYNSNI TWNOLLWN ALINMDIS §=©9ZTPEOL00D000E
O3 SNI TWNOLLVN ALINND3S 0
OD SNI WNOILVN ALINND3S O
O93 SNIIWNOILWN ALINNDIS O
O03 SNITWNOILWN ALIYND3S O
ASNULINY TEL6P8be
ASNYLINY TT+3¢2°6
ASNYLINY Tézsrsoe
OD SNITYNOLLWN ALIYND3S O
O35 SNI TWNOILVN ALIYND3S O
VOINFAY HLYON LSNULAY PESZSOT
VOISIWY HLYON LSNULAY PESZSST
O3 SNITWNOLLYN ALIYMD3$ O
O3 SNI TWNOILWN ALIYMO3S 0
OO SNITWNOILWN ALIYNDAS 0
O3 SNITVNOILWN ALIYND3S O
OD SNI WWNOILWN ALIYND3S 0
INISISIANSS TWIONYNIS LSM LAY OO-STECPOTIWd
O3 SNI TWNOLLVN ALIYMD3S 0
O03 SNI TWNOILVN ALINND]S 0
ONI SADIAYIS TWIONVNId LSNULIAY 00-929600T1Wd
VORMSWVHLYON LSA T-STz990z
OO SNITIWNOLLVN ALINNDIS 0
O3 SNITVNOILWN ALINNDIS 0
O3 SNI TWNOILWN ALINND3S 0
OD SNI TWNOILVN ALINND3S O
O3 SNI TWNOILVN ALIYMD3S 0
INI SS51A83S TVIONVNId LSNULIAY OO-STTepotiwd
O32 SNITWNOLLWN ALISAMOIS O
O23 SNITWNOILWN ALINNDZS O
O3 SNITVWNOLLYN ALINADA3S O
LSNYLAY TOOOESET
ASNYLINY TOODESET
Asnuliny E-Eg/9ELz
LsnydlAy E-EQLOELT
JINVYNSNI LSOULAY Tz7968sZe
JOINVENSNI LSNULWy Tz968sZe
JINVYNSNI LSNYLAY Tz968SZe
ANVdINO3 JONVENSN! ADOTONHDIL Q0-E00800EddL
ANVdINO3 JINVUNSNI ADOTONHD3L Q0-€00800Edd1
WOMAWIY HLYON ISNaLWy Fozezgoe
VOIMaINY HLYON ISN Tozez9o0¢
ONI "WOIMSINY HLYON ISNULINY 76628T8z
JONVYENSNI LSNULWY 8787697
JINVYNSNI LSNULINY 878zZ69z
ASNULINY TLeerTsz
ASNYLIN ES76SPL7
ASML ESzé6Splz
LSNYLINY ES@6sréz
NI “VOIMAWY HLYON ISMYLY T90L06pe
ONI “VOIMAIWY HLYON LSNLWy T90Z06Pz

VORA HLYON ISN LAY e-LOSbEC
ONI ‘VOINZIAY HLYON ISNULINY 190Z06r2
VORJINY HLYON LSNULAY e-L0Sb2z

ONI “WOIN3Y HLYON ISNULINY T90Z06¢%
VOINZINY HLYON ISNYLWIY EOL ps9Ez
WOISWY HLYON LSNYLAY EOTPS9EZ
VYORGWY HLYON SNL cOTrs9ez

SINVUNSNI LSNYLAY TZO9T Tez
JINVYENSNI LSNLWY TZOSTT Sz
4ASNulY
Lsnuliny
LASNYLINY
ISNyliny STS O€€EH

dVJH-d¥4H-OOO9S80SOTS
dVdH-d¥dH-O009S80SOTS
dV¥dH-d¥4H-OOPSTZOOTTS
dVdH-dW4dH-OOTS9ZOOTTS
dWdH-dW4dH-OOLZSS00TTS
di¥JH-dW4H-OOLZSSOOTIS
d¥jH-dV4H-OOZETEOOTTS
d¥dH-dV4H-O0999600TTS
dVdH-dV4H-OO999600TTS
dVdH-dV4H-OOObZPTOTIS
AVIH-d¥IH-O00bPzFTOLTS
dAVIH-d¥SH-OOOELZTOTTS
dWdH-dVdH-OOOEZZTOTTS
dVdH-dWdH-OOEGSSTOLIS
dVdH-d¥dH-OO97S9TOTTS
dV4H-dVIH-OO6E8SOZ0TTS
di¥JH-dW4H-O068SOZOTTS
Idid-IdlNd-€6TTOOO08
IdWWid-IdWid-SP TOSS
Idiid-IdId-POSOSTS
OIW-DWI-OOGTTEPTOT

WIS-SII-ESO8P900000WXIWO
WIS-SAIFESO8PS00000WXIND

AOD-SWIH-OOTSPT9ZOTd

AOD-SVIH-OOBTEZOEZTd

AOD-SWIH-OOPZE60EZTd

AOD-SVIH-OOPZE60EZTd

AOD-SVIH-OOSES9O068d
AODSVIH-T0426028E P08
AOD-SVIH-TO«E9OPET6OR
AOD-SVIH-T0*E90PET6OR
AOD-SWOH-T0.298S9T608
dVdH-dV4H-OO8EL9ZOTTS
d¥SH-dW4dH-OOBEL9ZOTIS
HLH4-HLH3-ZOpEeedzOSO
HLH3-HLH3-ZOpeeegzaso
HLH3-HLH3-TOSZEQOET SO
HLH3-HLH3-TO9ZEOOETSO
HLH3-HLH3-TO9ZEOOETSO
HLH3-HLH3-TOTTZ/pzeso
HLH3-HLH3-TOTTZ2bZesa
HLH3-HLH3-TOroézpesso
HLH3-HLH3-TOPO6/PEESO
HLH3-HLH4-TO6EZ9PEgSO
HLH3-HLH3-TOSEsE0ST90
HLH3-HLH3-TOSEBE0STIO
HLH3-HLH3-TOSZ6P9€790
HLH3-HLH3-TO900Z0%z790
HLH3-HLH3-TosooZor290
HLH3-HLH3-TOS00Z0Pz290
HLH3-HLH3-TOpsz98peso
HLH3-HLH3-TOrs/98pe90
HLH3-HLH3-Torsz9sPe90
HLH3-HLH3-TOpsz9sPe90
HLH3-HLH3-TOpsZ98PE90
HLH3-HLHI-TOpsZ9sPeg9o
HLH3-HLHS-TOTSTS8sp90
HLH3-HLH3-TOTS6TS8S¢90
HLH3-HLH3-TOT6TS8S¢90
HLH3-HLHI-TOSES/PESIO
HLH3-HLHA-TOSES/¢PESSO
HLH4-HLHI-TOSSzePPozZo
HLH3-HLH3-TOSSZEPPoZo
HLH3-HLH3-TOSSzePrro2o
HLH3-HLH3-TOSSZE¢ POLO

Page 7 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

SWW-DHd
SIWY-DHd
SIN W-DHd
SINW-DHd
Wddo-ddd
Wddo-ddd
WNH-ID3
WINH-ID3W

WNH-1IDDW
WNH-IDD
WOH-3IW
WNH-ID9W
WNH-D3W
WOH-ID3
WINH-IDSIAI
WINH-IS9W
WNH-I99/A
WNH-13W
WNH-13W
WAH-IDDIN
WOH-ID3I
Saud-DWIl
add-SIA
WIS-DIIL
WIS-3WI
WIs-3I!
WIS-DINI
WIS-3IAI
T1AM-9AH
T13M-9AH
THA-SAH
TAM TWA
TM-WA
1dO-TIAA
LdO-IWA
LdO-1lIWA
1dO“1IWA
LdO-TIAA
Hdd“
H3Ys- TAA
H3gd-TWAA
Hays"
H3gS-IAA
H3¥s-TIIAA
H3ud-TIWA

Hadd-TINA
Hagd-TIAA
Hagd-TIAA
AOD-SVDH
WIS-ddd
H3Y4-Sdl
dVdH-dV4H
dVWdH-d¥4H
dW4dH-d¥4H
dW4H-d¥dH
dVdH-dWdH
d¥4dH-d¥4H
dWdH-dW4H
dVdH-dVdH

Ageutid $1 oyne dujpnjau; SIUBINSU! YjNe{-oN Aepuosas aiesipayy pT
Aseuuiid s] Oyne Sulpnjaul aaueinsul yjney-oy Auepuodas asealpayy ¢T
Ageusjid s} one Suipnjaul soueunsu yNey-ON Alepuosas suezpay, pT

Agewiud s} eaueinsur Aqiiqel] Jayjo Alepuozas DIEIIPIA) {Pp
Aueulid $1 OyNe Zurpnjout SOUBINSU! 4/NeJ-ON AJeEpUoaas SIETIpPaYy pT
Asewid s1 ojNe Suypnjau! a2ueunsul yjnes-on Arepuoszas BIedIpPSyy pT
Aled si Oyne Bu/pnjaul saueunsul yne4-oN Aepuodas auedipayy pT
Aseuid S| oyne 3uipnjou! eaueunsu 3NB4-ON Auepucsss auespayy pT
Avewid 5] 0yNe Suipnjouy saueinsul yne4-on Auepuaoas BIEIIPSW PT
Aueuid s| one Buypnjou) sauesnsul yne4-on Alepuooas aIeUpSY\) PT
Aueuujd s) oyne Bulpnjou! asueinsus ynej-on Alepuosas alesipayy pT
Agewiid $1 opne Sulpnjau! saueunsur yjney-on AUepUOdaS aeIIPaLy pT.
Alewid Ss} oyNe Tupnjauy aoueunsur yney-on Avepuoras aseaipayy pT
Adeulid s1 oine Supnju! aoueunsul yney-on Alepuosas aiesipayy pT

Agewiid sj a2ueunsuy Aqiiqel) 9420 Adepuosag suesipayy fp

Auewiid $s! aauesnsuy Ay IB 484}0 Auepuodas sierIpay) /p
Ageuitid s} Oyne Suipnjour aoueinsut HNe{-ON Auepuosas auerIpayy pt
Aged s| oyne duipnjou! SIUBINSU! IjNe{-ON AUepUo.aS SiesIpayy pT
Aueuulid $1 Ojne Sulpnjou; s.ueunsul yney-oy AMEpUoraS aerpayy pT
Ajewiid $1 ojne BUIPN|IU! adUeINsW yjNey-oN Alepuoras aseapayy ¢T

Auewid sj B2UeUNSU! Ayiqel sa4y30 Auepuosas cuesipayy Ze
Ageuilid s) oyne Bulpnjou! aouesnsul ynej-on Alepuoaag esesipayy pT
Aseuilid 5! oyne Zujpnjaui sueinsul yjnes-on Auepuodag aueslpay) pT

Agewiuid s] aouesnsur Aqyiqely 484}0 Alepuoses aieipal /p

Aveuiyd si aouesnsul Aqjigel) Jayjo Alepuozas SIBIIpPalA) sp
Aieuiid s| ojne dujpnjou) asueinsul jne4-on Auepuogas ae:
Aueuuiid $s! ojne dulpnjauy aaueinsul yjnej-oy Arepuoaas ae:

Agewid s! sauesnsul Ajijiqel sayjo Atepuoaas aue

Ageuiiid s| a2ueinsuy Ayiiqel) sayjo Auepuoaas ale

Agewuid s} oyne duipnjouy aauednsul ynej-on Alepuosas SIRIIPS) pT
Aseuilid s| one Bulpnyjou! aauesnsul yne4-on Alepuodas aseapay, pT
Aueuid $1 0yne Suipnjau! saueunsul yne4-on Alepucsas SIEDIPSIA| PT.

Ageuiid s} aoueunsul Ayyiqel) 4ayjo AUepuozas SJEIIPaW Lp
Aseuuiid s) oyne Bulpnjau! adueinsuy yjne4-on AUBpUOdaS UEIIPaYy PT
Asewilid s} oyne Supnjou) aoueinsuy WNe{-oN Alepuogas aueripaly] pT
ds] oyNe Suipnjouy aoueunsul yjnej-on Avepuoras aueripay pT
lad 51 one Bulpnjaui aoueunsuy yjney-on Alepuadsas a1er1Ipayy pT
Adeuulid 5] 0yne Suipnjou! eoueinsul ynej-on Adepuarsas aser1pal) pT
Agewuud s| 0yne Suipnjou) eaueinsul yne4j-on Auepuosas SIeIIpay) PL
ARULId | One Buypnjau! soueuNsu! yneJ-on Alepuogas aleaipayy pT
Aseuiid st oine Suypnjaur SBOUEINSUI 4jNej-ON AJEPUOdaS suesipayy pT
Aged $i oyne sujpnjaul aaueunsul ¥N24-ON Aepuosas aiedipayy pT
Ajeuilid s} one Buipnjsui aoueunsu) yjne4-ON AMRpuodag suedIPaWy pT
Aseuiuid s| oyne Suipnjoul SSUEINSU! YNEJ-ON AepUudsas suedIpPSyy pT
Ayewiid s] oyne Sujpnjau) souesnsui yjne4-on Aiepuosas aIEIIPAW) PT
Agew)Jd $s] one Sulpnjou; souesnsul ynej-on Arepuoras aieripai! pL
Asewisd $1 oyne duipnjau; aaueinsul ynej-ox Auepuosas SJEIPIW PT
Asewiid $1 one duypnjout SOUBINSU! JjNe4-ON AepUuodas suesipayy pT
Auewiid $1 oyne Buipnjau! aaueunsu ynej-ON Aepuddsas auesipayy pT
Auewilid si oyne Bulpnjaul aouesnsuy WNeJ-ON Auepuosas aieaipayy pT
Aseuuiid si one Suipnjou! aoueunsul yjnej-oN AJEpuodas s1PDIPay pT
Auewuid s] oyne duypnjou) aoueinsul ynej-on Ayepuoras aserIpay, pT
AJBULId s| oyne duypnjou) aauesNsul yheJ-on AYepUoraS ayerIpa{) PL
Aueuutd $1) oye Bulpnjsul soueinsu; yjnej-oN Auepuosas alesipayy PT
Asewiid 3] opNe Suipnjout SoueINsU! JINEJ-ON AepUuodas azeaIpa; pT
Agewid | oyne Suipnjou; soueinsul yne4j-oN Aiepuoras SIETIPA) pT
Ageuuiid s| oyne Sujpnjaul a2ueinsul yjne4-on Auepuosas BIRIPaYY pT
Aueuiid $1] oyhe Sujpnjau) aoueunsur 3NeF-ON AGEpuosas Suesipayy pT
Agewujid Ss} oyne Suipnjoul saueinsuy 3jne4-on Adepuodas ayeopay) pt

Aleuid s} aouensul Ay|Iqei 4430 Alepuoras auealpayy ¢p

Agewiid s} aoueunsul Ayjiqel| 4ayj0 Auepuozas aieaipayy sp

Agewiid si aoueinsul Aqiiqel] Ja4}0 Auepuosas aseapayy sy

AUeWd SI aauednsuy Aq]Iq | Je4}0 Mepucsas suesipayy fp

Agewiid st aoueunsul Ag[Iqel) 4a430 Asepuoras aies1payy Zp

BO9PTIETE ‘WO ‘DTA IAWILSaM ‘GY VUNOOY TSoTE
SO9PTSETE ‘WO ‘DIA JNWILSIM ‘OY WUNOOY TSOTE
EG6S9ZTEL “NO ‘ALID VINOHVINO ‘£66897 XO Od

b98TO ‘VW “ONIGVaY HLYON ‘OOP LINS Yd uVd YSAIY OOP

E66897ZTEL “NO ‘ALID VINOHVINIO “66892 XOG Od
B09VT9ETE ‘VW ‘DIA INVLIS3M ‘GY VENODY TSOTE
BO9PT9ETE ‘W ‘DIA INVILSIM ‘OY VUNOOY TSOTE
BO9PTIETE ‘VO ‘DTA AV ILSIM ‘GY WHNOOY TSOTE
BO9PTSETE WD ‘DIA INVILSIM ‘GY WHNOOY TSOTE
SO9DTSETE ‘WO ‘OIA aNVILSaM ‘GY WuNOOYW [soTE
BO09PTSETE ‘WD ‘OTA aNVILSIM ‘GY YuNOOY TSOTE
SO9PTSETE "WO ‘SIA JNVILSIM ‘GY VUNOOW TSOTE
SO9VTSETS "VD ‘STA JNVILSAM ‘GY VENOSY TSOTE

SPOPBEOOT ‘AN “XUOA M3N ‘9 14 N71 NAGIVIA 6S
b98TO ‘VIN “ONIGV3Y'N “YO MYVduaALY OOP
bS8TO ‘VIN “ONIGV3u'N “Yd WYVdYaALY OOP

BO9PTSETE ‘VO ‘OTA ANVILSIM ‘GY WUNOOYW TSOTE
SO9VTSETE “WO “DTA JNVILSEM ‘OY YENOOV TSOTE
BO09PTSETE “VD ‘DIA JNVILSAM ‘GY VuNOOY TsoTE
E66897ZTEL “HO ‘ALID VINOHWINO ‘€66892 XOE Od
SZLEL ‘NO 'ALID VWOHYTNO ‘908867 XO Od

E6689ZTEZ "AO ‘ALID VINOHVINO ‘66892 XOG Od

BOSPTIETE ‘VD ‘DTA JAVILSIM ‘AY VENOOV TSOTE
P9BTO “VIN ‘ONIGV3Y HLYON ‘3AM Weve HATH OOF
P98TO ‘VIN “ONIGVAY HLYON ‘ 3AINC Wud Y3AlY OOF

SO9PTSETE "WO ‘DIA INV ILSaM ‘GY VUNOOW TSOTE

SO09PTSETS "WO ‘SIA INVILSIM ‘OY VUNOOW TSOTE

PLSPLOT PY ‘HO ‘ONVI3A319 ‘béSt6 XO8 “O'd
PéSvLOT Pt ‘HO ‘ONW19A319 ‘#ZSb6 X08 ‘O'd

OSSCTET Pb ‘HO ‘STIIH NAAJS ‘YL OOYVEINOT 0085

BO9PTSETE ‘VO ‘STA JXVILS3M ‘OY VENOOV TSOTE

BO9PTSETE ‘WO ‘DIA ANVILSIM ‘GY WUNOOYW TSOTE

SO9PTSETS ‘WD ‘DIA JNVILSAM ‘GY VUNOOY TsoTe

OO88SZTEZ “NO ‘ALID VWWOHVINO ‘ 408892 XOg Od

E66S9ZTEZ “NO ‘ALID VINOHVTNO ‘ £66892 XO Od

B09PL9ETE “VO ‘DIA JNVIIS3M ‘dd VENOOY TSOtE

EG689ZT EL ‘NO ‘ALID VIWOHWINO ‘E66892 XO Od

EG6B9ZTEL ‘NO ‘ALID VINOHWTHO ‘E66892 KOU Od
BO9YTSETE ‘WO "DTA JNVILSIM ‘GY VUNODY TSOTE
SO9PTSETE ‘WO ‘DIA JNVILSIM ‘GY VHNOOY TsOTE
BO9PTSETS “V2 ‘SIA JIVILSAM ‘GY VUNOOV TSOTE
BO9PT9ETG “VD ‘DTA JNVILSAM ‘OY WHNOOY TSOTE

EGEB9ZTEL “NO ‘ALID VINOHVINO ‘E66892 XO Od

EGGB9ZTEL ‘NO ‘ALID VINOHWINO ‘E66892 KOE Od
BO9PTIETE ‘WD ‘STA AV LLSIM ‘OY VENOOV TSOTE

E66892T EL ‘NO “ALID VINOHVINO ‘E6689Z XO Od
BO9PTOETS ‘VO ‘DIA JNVILSIM “GY VUNOOY TSOTE
BO9PT9ETS ‘VD ‘1A INVILSAM ‘OY WHNOOY TSOTE
SO09PTSETE "WO ‘OTA JAVILSAM ‘dy VeNOOY TSOTE
S09PTSETE “VO “DTA JNVLLIS3M ‘dd VENOOY TSsOTE
BO09PTIETE “VD ‘OTA XV 1LS3M ‘OY VENOOW TSOTE
BO9PTSETE “V2 ‘DTA ANVLISIM ‘GY WENODY TSOTE
SO9PTSETE ‘WO ‘DTA NV LLSaM ‘OY WHNOOY TSOTE
BO09PTSETS ‘V2 ‘DTA INV1LSaM ‘GY VWuNOdY FSOTEe
BO09PTSETS ‘WO ‘DIA JNVILSIM ‘OY VENOOW TSOTE

EGSSIZTEL “NO ‘ALID VINOHVINO ‘E66892 XO Od
B09PTSETE WI ‘DIA 31VILSIM ‘dY VENOOV TSOTE
BO9PTSETE “VD ‘DTA JUV ISaM ‘GY VENOOV TsoTE
SO9PISETE “VO ‘STA INV LIS3M ‘OY VWHNODY TSOTE
BO9PTIETS “WO ‘OTA SxVILSEM ‘OY WUNOOY TSOTE

ZOZOP ‘AN “BINASINGT “4OO]y YIZT “Vans UE IS9M TZE
PIBTO “VW ‘DNIGW3Y N ‘OOF 31SHC Ae WdyaAlY OOF
P9BTO ‘VW ‘SNIOW3Y N ‘OOF 3LSYO WUVdYIAIY OOF
P98TO ‘VIN ‘ONIGW4Y N ‘OOP 31SHC WYVdYaAIY OOP

9CLEL "NO ‘ALID WNOHV1NO “66892 XOB Od

OD SNITWNOILWN ALIYNDIS O
OD SNI TWNOILWN ALIYND3S O
OD SNI TWNOILWN ALIYMOIS O
VOIS3WY HLYON JO LSNULWY ESZTTS6L
O23 SNITWNOILWN ALIAS 0
O3 SNITWNOLLWN ALINND3S 0
OD SNITWNOLLWN ALINDIS 0
O3 SNITWNOLLYN ALINND95 0
09 SNITWNOLLYN ALINMD3S 0
O03 SNITWNOILWN ALIMNDIS O
O23 SNI TWNOILWN ALINNDIS 0
O23 SNI TWNOILVN ALINNDAS O
OD SNITWNOLLWN ALIYMD3S O
DN! S3S/AN3S TVIONWNId LSNY LAY 00-€0Z600T1Wd
“VOINIINW HLYON LSNULIAW T-PESO90Z
“WOINSIY HLYON ISOM T-veso90z
OO SNITWNOILVN ALIYNDAS O
O32 SNI WWNOILVN ALINNDIS O
O23 SNI TYNOILVN ALINNDES 0
OD SNIWWNOILYN ALIYMD3S 0
JONVYNSNI IWNOILWN ALINNDAS LETLOESST
O3 SNI IWNOILYN ALIGNDIS 0
O03 SNI IWNOILYN ALIYNDIS 0
ASNYLINY TSEELLTZ
ASNYLINY TIEELZTZ
O03 SNI TYNOILVN ALINND3S 0
O23 SNI IWNOILVN ALIYND3S 0
LsnMdlWy s9ge8sses
ASNULIAY S986ssses
INIVIINZIANY HLYON ISAYLWY s9gegss6s
O3 SNITWNOLLWN ALINND3S 0
O32 SNITVNOILWN ALIUNDIS O
O23 SNI WWNOILWN ALINND3S O
TWNOILVN ALINNDES SZZ9L6E97
O32 SNITWNOILWN ALISNDAS O
O3 SNI TWNOLLWN ALINMOIS 0
O3 SNITVNOLLYN ALINN3AS 0
OD SNITWNOILYN ALINND35 0
O35 SNITWNOILWN ALINNDIS O
O23 SNI TYNOILWN ALINNDS O
O35 SNI TWNOILYN ALIYND3S O
O93 SNITVNOLLWN ALINNDaS O
O93 SNITWNOLLYN ALINN33S O
O03 SNITVNOLLYN ALINNDaS 0
OD SNI TWNOILYN ALINNDAS O
O93 SNITWNOILWN ALINNDIS O
OD SNI WWNOILVN ALINNDES O
OO SNI TWNOILVN ALINNDES 0
OD SNI IWNOLLYN ALISM2a5 0
OD SNIIWNOLLYN ALINAD3S O
O03 SNITWNOILLWN ALINND]S O
O93 SNI TWNOLLWN ALINNDIS 0
O2 SNITIWNOLLWN ALIHNDIS 0
OD SNIIWNOILWN ALINND3S 0
OD SNI TWNOILYN ALIYND3S 0
O2 SNI TYNOLLWN ALIYND3S 0
OD SNITWNOLLVN ALINNDaS O
O32 SNITVNOLLVN ALINND]S O
O3 SNITIWNOILLWN ALIYNO]S 0
OD SNITWNOLLVN ALINND3S 0
JONVUNSNI LSNYLAY TSS$zoz
WOMAN HLYON LS LAY SéTOL69gZ
VOIMAWIY HLYON LSNYLIY SeToZegz
VOIMSWIV HLYON LSNULIY S6TOL69Z
JINVYNSNI WNOLLVYN ALIYND3S = 9ZTP60L009000E

SWIV-DHd-OOSPEOEESTZ
SWY-DHd-O0SreOEEST
SIW-DHd-0088rO8Z9TL
SWY-DHd-0096p06T STZ
Wddd-ddd-TO.8PesT9z
Wddd-ddd-TO697452S2
WNH-IDDAW-07PozES90
WNH-IDDA-PESSTOz6s
WNH-IDDW-TaPe8pZs9z
WNH-DSIN-296Lb eres
WAH-D3I-L962br 6s
WNH-DSW-T6zezrpso
WAH IDDIA-bz9or99P9z
WNH-IDDI-TZS69eSeT
WAH-IDDI-2TOPS779z
WINH-IDDIA-LTORSZ797
WNH-IDDIW-9/888SS9c
WNH-IDDW-Ss9z2@sts9z
WNH-IDDW-62 4822270
INNH-IDDIN-OT6P8rOr0
WINH-IDDWI-ZET LOE88T
WNH-IDDW-LETLOE88T
WNH-IDSDW-Ee6LEcrzse
JUd-DWI-OO8OEPTESOd
3ud-DWN-OOB0EPT ESOd
WIS-SIWI-8 2682 E00000WXINO
WIS-JWI-8 2682 E00000WXWO
WIS-DIAI-EEPEO900000W XO
WIS-SIAI-E €PS0900000WXWO
WIS-SWIFE€PSO900000WXWO.
TIAM-SAH-*TZ9TZSTL
TISM-DAH-TZ9T 28 TT
TIIM-SAH-988969ZT
TM UAA-8E8PLOPT
TIM IWA-BESPLOPT
LdO-TIWWA-O2TPZ000L
AdO-TIWA-ESL£2000.1
1dO-TIWA-2P6T 20001
1dO-WIAIA-TT922000L
IdO-“IIWA-26€6L000L
H3Ys-TAVA-E88T ELO0d
H3Ys-HINA-EBSTETOOd
H38d-TIWA-ES8TETOOd
HI¥d-TIA-EBBTETOOd
H3Ys-“IWA- 6 POG000d
H3YS"TINA-COPOSTOOd
H3¥Ys"INA-68T8T T00d
H3Ys-WIWA-68T8TTO0d
Hads-WWWA-6ZTESTOOd
Hs“ TIAA-9ZT99TOOd
H3Ys-IWA-8PZ0STO0d
H3¥d-IWA-8PLOSTOOd
H3¥S-TINA-S6727T00d
Hads-MIWA-S6ZLZTOOd
AOD-SVIH-T04298ZEE60S
WiS-ddd-b9ZS8EQ0000WXIWD
H3us-Sdl-ZP79PO00d
dVdH-dVdH-OOZZ8ZESOTs
dVdH-dVIH-OOZ7SZESOTS
dV¥4H-dW4H-O0ZZ8ZESOTS
dVdH-dW4H-O09/80TSOTS
dVdH-dW4H-OOTPEESPOTS
dV¥JH-dV4H-OOTPEEGPOTS
d¥dH-dV4H-OOTPeeerots
d¥dH-d¥dH-OOO9S80SOTS
Page 8 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

WINH-ID3W
WINH-IDS1
WINH-ISSW
WNH-1D31N
WAH-I331
WOH-ID31
WOH-IDDW
WINH-IDSW
WINH-IS3W
WINH-ID3W
WINH-ID3
WOH-IDSI
WNH-D3A
WNH-3W
WAH-DoW
WNH-I3/
WAH-IDDWN
AOD-DWI
AOD-3II
O3IA-SWI
GAWD
dOH4-dOHd
dOHd-dOH4
AQD-OHD
AOD-OHD
AQ3-OHD
AO3-OH3
TMS
TAMSIN
TIAM-3SAI
THM-3ll
THM-SIWI
TMD
TIA
AOD-SWH
AOD-SW3H
AQD-SYOH
AQD-SWDH
AOD-SVDH
AOD-SVDH
AOQD-SVIH
AQD-SW3H
AOD-SW3H
AOQD-SYDH
AQD-SVOH
AO3-SVDH
AOD-SVDH
AOQD-SWOH
AQD-SVSH
AOD-SWOH
AOD-SWDH
AO3-SWOH
AQD-SVDH
AOQ3-SVSH
AOD-SVDH
AOD-3Hd
AOQD-DHd
AOQD-SHd
AOQD-DHd
AQD-DHd
AQIS
AOD-SINI
SIAIW-DHd
SINW-DHd
SIWW-DHd

Aled s| ojne Sujpnjout SSUEINSU] I/NEJ-ON Alepuooss auedpal pT
Aseuulid | 0yne Suypnjou! eaueinsul yjne4-on Avepuosas BIRUpPAW pT
Ageuijid si} ojne dujpnjau; SOUEINSU! }NeJ-GN AJeEpuosas aesIpay pT
Auewiid s] oyne duipnjau! sauesnsuy yne4-on Alepuosas asesipay| pT
Adewiid $s} oyne Suipnjaut SOUBINSU) 1NE4-ON Alepuosss auesIpayy pT
Agewiid s} 0yne Buipnjau) aoueunsuy yjne4-ony Alepuozas DIRIPaW pT
Asewiuid si oyne Zuypnjau! adueunsul yjnes-oy Alepuosas auesipayy pT
Aveusjid s} oyne Suipnjaut esueinsuy yne4-on ALepudoas aesIpay pT
Aveuulid s} oyne Bulpnpoul S9UBINSU! 1jNEJ-ON ALEpUudoes sueDIpoyWy PT
Aseuujid 5] Oyne Suipnjour eoueunsul NeJ-on Auepuares aueripayy pT
Aseuuud 5] oyne suIpnjou! adueINsU! }jNey-oK Auepuodes aieripay pr
Aseuiljd si o1ne Bulpnjsur auesnsul yne4-on AUepUo2ag suesIpay) pT
Ageuiid si ojne duipnjau SIUBINSU! }jNe4-oN AepUOIAaS aleIIpPayy PT
Ageudlid s] oJNe Bulpnjau! aaueansul ynej-on Alepuozas aleopayy pT.
Ajewiid s! ojne duipnjaul SoueINsu! INeJ-ON Aepucoas aueaipayy pT
Aged s} oyne Buipnjaui aouesnsul yne4-on Alepuozas aJe2Ipa|) pT
Aged si oyne Buipnjout SIUEINSU! }INE4-ON Aiepuoras ae2Ipay pT
Avewuud s} oyne Suipnjsu! aauesnsul yne4-on Alepuosas SIEIIPS) pT
Agewlid si aoueunsul Ayiqel 4ayjo Alepuozas BIEIIpPSyy sp

Asewilid s] oye duypnyou! soueINsul IjneJ-on Alepuodas avesIpayy pT
Aewlid S| one duipnjou! aauednsul ynes-on Asepuoaas BJeIPAW PT
Agewijid s) oyne Suipnjau! eouesnsul yne4-oV Atepuosas ase! PaW pt
Aueud si adueunsuy Ay Gel] JaYIO Ayepuosas aedipay sp

Ageuilid s| 0yne duypnjou) saueunsul yney-on Alepuadas aesIpay pT
Avewiiid $} one Bulpnjou sauesnsul 1Nej-on Aepuasas aleslpay pT
Ageuujid s] o3ne Suipnjou! soueins WNe{-oK Auepuosas ase:
Ageuujid si ojne dulpnjau; saueunsur yjney-on Auepuosas aieal
Adewulid s} oyne duipnjaut aaueuns' |NeJ-ON Avepuosas aes)
Asewilid $1 oyne Sulpnjaul aouesnsul yney-on Auepuovas ae2!
Agewilid s! oyne 2 S@IUEINSU! 3/NEJ-ON Alepuodas alepayy pT
Ageuuuid si oyne duipnyo SOUEINSU! YNeJ-ON AIEpUOdAS asesipay PT
Aieuilid §) oane Bulpnjou! aaueinsul yne4-on Alepuases auesipayy pT
SuedNsU! YNe{-ON Adepuosas aesIpay) pT
| BIUBINSU! IN4-ON ALepUosaS sueDIPaY) pT
| souesNsul 4jNe4-ON Avepuoras aueaIpa) pT
AgewilJd s! oyne Supnjau) aquesnsul yne4-oN Alepuosas SIBIpPayy) pT
AewLid 51 soueunsu! AjI/qel] 48430 ALepuaras SEPA) fp

Aseuiid S| oyne Buipnjou! souedNsul yNeJ-oN Alepuodas aiesipayy pL
Aveuud s) aouensul ApjIGey Jayjo Auepuosas SIeIIPaY] Lp

Jd $1 one duipnyjaui SaUeINsu! yNeJ-ON Aepuosas alez1paly PT
id si oyne Suipnjau SSUBINSU! YNEJ-ON Aepuodss aveIpayy pT
Aseuitid s| one Buipnjau! aoueinsur WN24-ON Alepuoras aueripa] pT
Asewiid s] one Suipnjau; aouensul 3jnej-on Alepuosas SIEDIPaA) pT
Agewiid s| oyne Suipnjouy a2uensu! ynej-o-y AUepuosas aierlpayy pL
AseuiLid 5] 0yNe Bulpnjoul aoueinsul ynej-on Alepuasas aiesipayy pI
Asewuiid | oyne Sujpnjsui aouesnsul yne4-on Alepuooas suesIpayy pT
Auewuiid s] one Buipnjou! sauesnsu) yne4-oN Aepuosas SJEIIPSA) PT
Ajewiiid s} oyne Buipnjauy aaueunsut 3jne4-on Aepuosas aJetIpay) pT
Agewilid st oyne Zurpnyaul aauewnsui anej-onN Alepuosas auesipayy pT
Meuilid s1 oyne Bupnjaul asuednsuy 3jNej-ON AIepUOsas aseIpayy pT
Adetulid s) oyne Suipnjau! aoueinsul yne4-on ALepUdsas suesIPaY pT
Aged s! oyne Suipnjou; SQUEBINSU! /Nej-ON AJepudras alecipal) pT
Ageuuiid $1 oyne Sulpnjau! adueinsur UNes-ON Auepuosas auesipay, pT
Ageuulid s] one Bulpnjau! sauesnsul yne4-onN Alepuosas aseaipay\| pT
Aseuijid s} oye duipnjau; aaueinsul yne4-on Auepuosas SJeIIPaW PT
AgeW}Id s) OWNe duypnjau! aoueinsu! ynej-on Awepuoras auesipayy pT
Aged s} oyne Zujpnjau! aoueunsuy yjnes-on Alepuooas suesipayy pT
Aseuuiid s} oyne dupnjaut aouesnsuy ynej-on Arepuoses evesipay) pT
Asewud s} oyne duipnjou; aaueinsut IN@J-ON Alepuacas ase2pa pT
Agew)Jd s| 03ne Julpnjouy eoueinsul ynej-on Avepuosas SIRIIPa! PT
Aseuitid 1 oyne duipnjauy aaueinsut yjnej-oy Auepuosas SJEIPIW yT
Aseuijid s} oyne Suipnjou! aoueunsuy 4NeJ-ON Avepuosas auesipay pT
Aseuuiid $1 oyne Fuipnyo | SQUEINSU! 4/NBY-ON AUEPUOIAS aJedIpayy pT
AgeuLid s] oyne duypnjau) aaueinsul yjne{-on ArepUOras aerIPa| PT
Adewuiid $] oyne Sulpnjouy aauesnsul ynej-on Alepuosas asesipayy pT

nya!

B09PI9ETE VD ‘DTA SNV LSM ‘GY VENODY Tsote
€6689ZT EZ “NO ‘ALID VNOHYTHO ‘E66892 XO Od
SO9PTSETE ‘WO ‘OTA INW1ILSaM ‘GY VuNOOY LSOTE
809b-L9ET6 V2 ‘OIA FAV TLSIM ‘GY WUNOOW TSOTE
BO09PT9ETE ‘V2 ‘DIA JAVILSIM ‘ d¥ VENOOW TSOTE
SO9PTSETE VO DTA JAVILSIM ‘GY WHNOOY TSOTE
OOOOTSETS YD ‘SVTIIA JNVILSAM ‘ GVO" YHNOOY TsOTE
OOOOTSETS “WO ‘OVTIA JxWILSIM ‘ GVO" WuNODY TSOTE
S09PTSETE ‘VD ‘DIA 3YVLLSIM ‘GY WENODY TSOTE
EGGB9ZTEL “AO ‘ALID WINOHVINO ‘E6689Z XO Od
BOSPTSETE V2 ‘DIA INVUSIM ‘OY VENOOW TSOTE
BO9PT9ETE V2 ‘DIA JXVLSEM ‘GY VHNOOY TsoTE
S09PTSETS ‘WO ‘DIA ANVILSAM ‘GY WENOOY TsoTE
SO09PTSETS V9 ‘OIA aNVILSAM ‘Yd VUNOOV TSOTE
SO09PT9ETG "WO ‘DIA JNVILSAM ‘GY WuNOOY TSOTE
B09PTIETE “VD ‘OTA 3NVILSIM ‘GY YYNOOV TSOTE
BO9PTIETE ‘WD ‘STA IV ILSIM ‘OY VYNOOV TSOTE
SPOPBEOOL ‘AN ‘AYOA MN ‘9 14 NT NAGI 6S

TOTP ‘HO ‘GNV1SA319 ‘véSP6 XO Od

OOOOTIETE “v> ‘OVTIIA JIVILSAM * GVO" VENOOY TsoTE
QOOOTSIETE “WD ‘DVTIIA JAVILSIM ‘ VOY VUNOOY TsoTE
SPOPSEOOT “AN “MYOA MIJN ‘9 14 NT N3GIVIN 6S

TOTbt ‘HO ‘ONV1aA31D “PéSb6 XO Od

BO9VTIETE V2 “DTA JV LLSIM ‘GY VENOOY TSOTE
BO09PT9ETG ‘WO ‘DIA aNWLLSIM ‘CY WuNOOW TSOTE
SO9PT9ETE VO ‘OTA JNWILSAM ‘GY VuNnOOY TSOTE
BO9PTSETG ‘WD ‘OTA aNVILSIM ‘ GY WENOOY TSOTE
bTEEE ‘TJ “JIAWO ‘GY ONITYSLS LOLS

bIEeEe ‘14 “ZIAWO ‘GY ONITNSLS TOZs

PIECE “Td “ZIAVG ‘Gu ONMYRLS TOLS

PLEEE ‘Td JAVA ‘GY ONMNALS TOS

PTEEE “Td “JIAVO ‘GY ONITHSLS LOLS

bIEEE “Td “FIAWG “OY ONITYILS LOLS

bIEee ‘Td ‘SIAV “OY ONITYSLS TOS

B09PTSET6 V2 ‘STA JAVILSAM ‘GY VENOSY TSOTE
BO09PTIETGE VO ‘OTA JNVLLSAM ‘OY VYNOOV TSOTE
S09PTIETS VD ‘OTA AVSIM ‘OY VeNODY TSOTE
S09PTSETE YD ‘DIA SNVILSIM ‘GY WENODY TSOTE
BOIPTOETG ‘WD ‘DIA aNVILSIM ‘GY WUNOOYW TSOTE
SO9DTSETS "WI ‘DIA JNVILSaM ‘GY VHNOOY TsoTe
SO09PTSETS V3 ‘DTA JV ILSAM ‘d¥ VuNOOoY TsoTE
S09PTSETS VD ‘OIA JAVILSIM ‘Yd WENOOW TSOTE
BO09PISETE “VO ‘STA INV LLISIM ‘GY VHNOOY TSOTE
BO9PTIETE “VD ‘STA 3AVILS3M ‘OU VENOOY TSOTE
BO9PTSETE VD ‘DTA 3NVILSIM ‘GY WuNODY TSOTE
QOOOTIETE “VD ‘OVTHA aNVILSIM ‘ GVOU WUNOOY TsOTE
SO9VTSETS ‘V2 ‘SIA JV ILSIM ‘GY VENOOV TsoTE
OOOOTSETE “WD ‘DVTIIA 3NV LSM ‘ OVO" VWuNOOY TSOTE
B09PTIETG “VO ‘OTA SNWILSAM ‘GY VENOOY TSOTE
B09PI9ETE VO ‘DTA ANVULSIM ‘ GY WENOOY TSOLe
SO9PLSETE YD ‘DTA IAVILSAM ‘GY VENOOY TSOTE
SO9PTIETE “VO ‘DIA JNVLLSEM ‘GY WUNOOW TSOTE
BO9PTOETS "WD "DIA JNVILSIM ‘GY VUNOOW TSOTE
S09PTSETS VD ‘DIA JAVILSIM ‘Gy VUNOOW TSoTEe
S09PTSETS ‘V2 ‘STA JAW ILSIM ‘OY VHNOSY TSOTE
EG689ZTEL ‘NO ‘ALID VWOHVINO ‘€66892 XOG Od
E66892T EL NO ‘ALID VINOHVTNO ‘E66897 KOE Od
ZOSPBEOOT AN “AYOA MW3N ‘NT N3GIVW 6S

BO9VTSETE VD ‘OIA IYVILSIM ‘GY VENOOW TSOTE
SO9PTSETS ‘WD ‘DIA INV ILSaM ‘GY VUNOOY TSOTS
OOOOTIETS VD ‘VTA JAVILSIM ‘ GVOY VUNOSY IsoTE
OODOTOETS ‘WD ‘DYTIIA JAVILSIM ‘VOY WENO TsoOTE
SO09PT9ETE “VO ‘OTA JNVLISIM ‘dd VHNOOV TSOTE
SO9PTSETE “VO ‘STA INVUS3M ‘GY VENOOY TSOTE
BOSPTIETS ‘WO ‘OIA JNVLLSIM ‘GY WHNODY TSOTE

O23 SNI TWNOILYN ALINMD3S 0
OD SNITWNOLLYN ALIYND3S 0
O23 SNI TYNOILVN ALINNDIS O
OD SNI TWNOILWN ALIYND3S 0
OD SNI TWNOILYN ALISND3S O
O93 SNITWNOILLWN ALINND3S O
O3 SNITIWNOLLWN ALINNOAS 0
OD SNITVNOLLWN ALINNDIS 0
O93 SNI IWNOLLWN ALIYND3S 0
OD SNITWNOLLWN ALIYNDS 0
09 SNITWNOILWN ALINNDAS O
O3 SNI TWNOILWN ALINNDIS O
O3 SNI TWNOILWN ALINND3S 0
O23 SNI TWNOLLYN ALIYNDIS O
OD SNITWNOLLWN ALINND]S O
O32 SNITWNOLLYN ALINMDa5 O
O3 SNI IWNOLLWN ALINMDaS 0

ONI SIDIAWAS TWIONVNId LSNYLWY

VOIMSIIWHLYON LSNYLAy
O23 SNI TWNOILVN ALINNDIS 0
OD SNIWNOILVN ALIYNDIS O

INI SADIAM3S TWIONWNId LSNULAY

VORZINVHLYON LSA
O23 SNI TWNOLLVN ALINNDS 0
O23 SNITYNOILYN ALIUNDIS O
O23 SNI TWNOILWN ALINND3S 0
O32 SNITWNOILVN ALIYND3S O

TWNOLLWN ALINND3S
WWNOLLWN ALIYND3S
TWNOLLWN ALINNDAS
TWWNOLLWN ALINNDaS
TWNOILYN ALIYND3S
TWNOILYN ALIYND3S
TWNOILVN ALINND3S
O35 SNITWNOLLWN ALIYNDAS O
O03 SNITWNOLLYN ALIHND3S 0
O03 SNI TVWNOLLYN ALINND3S O
O93 SNITWNOILYN ALIYND3S 0
OD SNI IWNOILWN ALINND3S 0
O93 SNI TWNOLLYN ALIYND3S O
03 SNITIWNOLLYN ALINND]3S O
O03 SNITWNOLLWN ALIEMO]S 0
O03 SNI TVNOLLVN ALINNDS 0
O93 SNITWNOILWN ALINNDIS 0
©9 SNITWNOILWN ALIUND3S 0
OD SNI TWNOILWN ALIYND3S O
OD SNi TWNOILYN ALIYND3S O
OD SNITWNOLLWN ALINMDIS O
O03 SNITWNOLLVN ALISNOIS O
O23 SNI TVNOLLWN ALINNDZS O
O3 SNITWNOLLYN ALINNDaS 0
O03 SNITWNOILWN ALINNDAS O
OD SNI TWNOILWN ALINNDIS O
O2 SNI TWNOILWN ALINND3S 0
OD SNI IWNOLLVN ALINND3S 0
OD SNITWNOLLVN ALIND]S oO
O03 SNITIVNOLLYN ALINNDAS O
ANWdIAIOD JONVUNSNI ODSIM
O23 SNI IWNOILWN ALINNO3S 0
OD SNI WNOILYN ALINND3S 0
O35 SNI TYNOILLYN ALINNOSS O
O03 SNI TWNOILVN ALINAD3S 0
03 SNI WNOLLYN ALINMD3S 0
OD SNITWNOLLYN ALINNOaS O
O35 SNITWNOLLWN ALINND3S 0

00-929600T1vd
T-9Tz9902

00-9£9600TIWd
T-91 79902

éTpoososzavid
é£tvoososzdavid
éTPOO90SZOVIT4
éTPOO9OSZdV1d
éTpoogoszavid
éTpoososzawld
éTpoososzayis

TOS6680TTddM

WNH-IDDWrL£7690897
WNH-IDDW-Ev6690E97
WNH-IDOW-£94682 P92
WNH-DOW-TT822692
WAH-IDSW-TTS226p97
WNH-ISDV-Orz2 206597
WN H-IDDW-0r2 206592
WNH-IDDW-Obe 206997
WINH-IDDINW-0b2 £06597
WAH-IDDI-820S6P297
WNH-ID3IN-SP0906292
WNH-DOW-22966T0zb
WNH-IDDW-22966T0Zb
WNH-lDDM-6PEsorZ775
WOH-IDDW-6PesoK7Zs
WOH-IDIW-TTOSTT ess
WNH-IDDA-TLOST TESS
AODIINI-TO4SL77ESZOB
AOD-IINI-TO,S227ES9708
G3IW-SWI-00s8zE900T
G3aW-SWiI-00S8ZE900T
d3Hs-dIHI-T9LZZOO0000WIIN
dHs-dOHI-T9LZZOOOOOOWAIA
AOJ-GHD-T0.tL6PT8208
AO3D-OH3-T04%L6PT 8208
AOD-OH3-T04TESPOOEOS
AOQD-OHI-T0«TESPOOEDR
THM-SWI-8909T8TT
TIM-IW8909T8TT
TIAM-IWI-8909T SET
TM-SAS909TSTT
TIM-SIAFS9O09TSTT
TIAM-SIAU-B909T 8TT
TIAM-SINI-8909T 8 TT
AOD-SVIH-TO«2S6EER708
AODSVOH-T0.6ST8LPz08
AOD-SVIH-T04797S90E08
AODSVDH-TOxP9ZS9OE08
AOD-SVIH-TO4P9ZS90E08
AODSVDH-TO.P97S90208
AOD-SVIH-T0,069P68E08
AOD-SVDIH-T0.069PE8E08
AODSVIH-T0,069P68E08
AOD-SVIH-TO.069P68£08
AOD-SWIH-TO4ZT9TTO608
AOD-SYIH-TO.2TST T0608
AODSVIH-10.7T9TTO608
AODSVIH-TO42T9TTOG08
AODSVOH-T0,.2T9TTO608
AOD-SVSH-T0sSSZPOT6OR
AOD-SVIH-T0<9262£T608
AODSVIH-TO49/622T 608
AOD-SWOH-LO.LPESLTEOS
AODSVIH-TO.2PESLT EOS
AODSWIH-TO.LPESLTEOS
AOD-DHd-T0.8006S/208
AOD-JHd-10+800652708
AQD-3Hd-T0.669098708
AOD-DHd-T046£960T 608
AOD-DHd-T0462960T608
AOD-3INI-T040909T0608
AOD-IWI-T0.0909T0608
SWW-DHd-O09PEOEESTL
SWY-DHd-OO9PEOEEST L
SIWVWSHd-OOOPEOEESTZ
Page 9 of 9

Filed 10/02/20

21-cv-01011-JAV Document 1-2

Case 1

dOH4-dOHI
dOHs-dDHS
d3H4-ddH4
dHd-dH4
dOH4-d3H4
dOHA-dOHA
d3Hd-d3H4
dOHI-dOHA
dOH4-dOH4
d3Hd-d3H4
d3Hs-dOH4
d3HS-d3H4
d3HI-dDH4
dOH4-dDHI
dOHI-dOH4
dOHi-dDHA
dOHd-d3H4
d3Hd-dOHd
dOH4-dDH4
d3H3-dOH4
dOH4-d3H4
dOH4-dOH4
d3Hd-d3H4
d3H4-d3H4
dOHA-dOHS
d3OH4-ddH4
dOH3-d3H4
dOH4-dDH4
dOHI-dH4
dOHd-dDHS
dOH3-d3Hd
dOHd-dDH4
dDH3-dOHs
WNH-I9D
WOH-ID3lN
WINH-IDSW
WINH-IS9iV
WNH-ID9/
WNH-ID3W
WAH-I31A,
WNH-ID3/
WOH-ID3/
WINH-I931
WNH-ID2W
WOH-ID3W
WNH-I351N
WAH-ID31A
AINH-I931N
WNH-1I99/
WNH-D3WW
WAH-ID311
WNH-ID3W

Adeuilid $1 Oye Supnjoul soueinsu yjnej-on Alepuosas avesIpayy pT
Ageuulid 3] 03ne Buypnjsul a2ueinsul yne4-oNn AUepUosas avesIpay\ PT
Alewd S| oyne Bulpn|oul saueinsul yne4-on Alepuosas SIEIIPAW pT
AJeuulid s| oyne Bulpnjsul asuensuy yjnej-on Alepuosas BIEIIPAW pT
Aseuiid si oyne suipnjou! eaueunsul ¥nej-oN Alepuodas sueaipayy pT
Aeuid 5] oye Bulpnjou! aoueinsu; ynej-on Alepuasas auesIpayy PT
Avewitid s] oyne Bupnyjou! soueinsut HNC4-ON Adepuosas auesipayy pT
Ageujid $1 oyne dulpnjauy saueunsuy yney-on Auepuoras alesipayy pT
Agewtid $1 oyne Buipnjau! aoueinsuy WNey-ON Alepuosas aierpayy pT

Ajewiud s} aauesnsuy Agi}Iqelj 494.0 Alepuosas Sepa sp

Aietuiid si aoueunsul Aji iqel) 48430 Arepuosas seIpay fp
Ajeuud s| oyne SUIpnjous aaueNsul yjney-on AJepuoras auesipay) pT
Agewilid s] oyne Bulpnjou! soueinsuy yne4y-on Auepuasas aue:
Agewijid $1 ojne Bujpnjou; a2ueinsu! yjne4-oy Auepuodas aie:
Auewuiid si oune Suipnjau) aoueuns! INEJ-ON Alepuogas aue

Aueuwid si asueinsur Aqtiq | JeYIO Auepucaas que

Aueuilid SI aoueunsuy AjIqel] 4@YyIO Ayepuodras ale:

Ageuiyd si aouesnsuy Aq!igel| 4ay}0 Alepuozas SIEIPSW sp
Aseuutid s] oyne duipnjouy soueunsul WNCJ-ON Adepuodas aiesipayy pT
Agewid si oyne Sulpnjau! aaueunsul yjney-on Auepuooas aseoipay) pT
Asewuilid s| oyne Zuipnjau! a2ueznsuy yjne4-on Alepuodas auesIpayy pT
Ageulid s! oyne dujpnjoui SoUeINSU! INeJ-ON Aepuoras suezIpa; pT
Aseustid s| oyne Surpnjou! aouens! JNE4-ON Alepuoras aseoipay pT
Auetuyid s) ojne Suipnjouy eaueunsul yjne4-on Auepudzes, BIeIPaW pT
Aseuuiid $1 oyne durpnjou! SOURINSU! YNeJ-ON AUBpUddas asesIPaW pT
Adewiiid s] ojne Bulpnysul aouesnsuy yjne4-on Alepuosas aJEUpayW| pT
Asewiid $1 oyne Sulpnjauy soueunsul yjne4j-on Agepuodas auesipayy pT
Aseullid s1 oyne Zuipnjou) aaueunsul yjney-oN AUepuosas asesipay pT
Aseuuiiid si oyne SUIPN|5u! @aueunsu HNEJ-ON Alepuosas aseripay pT
Agewid s1 oyne SUIpN|ou! @auesnsul 3NeJ-O- Alepuasas aserpal) pT
Ageuwid s] o3ne Fuipnjsu; soueinsul ynej-on Avepuosas SIEIIPS) FL
Agewtid $1 0jne uipnjsuy aoueunsu yney-on Alepuoras aiesipayy pT
Alewiid s! oyne ulpnju) aauesnsuy yne4-on Alepuosas auespayy pT
Adewilid s} oye Suipnjsul asuesnsul yjnej-on Asepuosas SIEIIPSW) pT
Ageuujid s] one Suipnyjou SIUEINSU! 4[Ne-ON AJepuaras aJesIpayy pT
Avewulid s| ojne dujpnju! aaueunsul yney-on Alepuosag aueaipay) pT
Aueuilid s| oyne Bulpnjou! aauesnsuy yjne4-on Auepuodas ase2pa;, pT

Ageuiid si aaueunsur Ayyiqel 4a4}0 Asepuosas auesipayy dv
Aueuujsd $] oune Fuipnjsuy asueunsuy yne4-ox Avepuosas au ed1pay) pT
Agewid s} oyne surpnjou! aueunsuj yjnej-oy AJepuozas auedipay pT
Aseuuiid S| oyNe Suipnjouy @2ueunsul yjne4-oy Auepuorzas BIBIPSWy pT
Aseuiiid s} oine Bulpnjou) soueWNsul yney-oN Aepuosas ases1payy pT
Aseuiiid s| one Bujpnjou) aauesnsul yne4-on Auepuodas aiespay;, pT

Agewid s) aaueunsut Aqiiq | 4ayjo Atepuoses aseapay) sp

Ageuutid s! aoueinsul Aqijiqel| 12430 Auepuozas SJEIIPIW Ap
Agewijid s} oyne Sulpnjou asuesns W 3JNEJ-ON AUepuoras suesipaly pT
Auewiud si ojne 3 JIU! BIUeINSU! y/Ne4-ON AEpUOsaS SuedIpayy pT
Agewuud s! oyne dupnyo SIUEINSU! YNej-ON AUEpUdIAS aseIIpaW PT
Aueuujid $1) oyne Bulpnjou! aauesnsul yneJ-on Aepuosas auesipayy pT
Agewid s1 one Suipnjau; saueunsu yjney-on Auepuoras aseaipayy pT.
Ajeuiuid s| one Buipnjau! aoueinsuy 3jne4-an AWepuoras auedI/pal] pT
Aueuilid sj oyne Suipnjauy SOUEINSU! 3jNBJ-ON AEPUOdAaS aiesipayy pT

SO9PTSETE “VO ‘DIA aNVILSIM “GY VuNOOY TSOTE
BO9PTSET6 ‘V3 ‘OIA SNVILSAM ‘GY WUNOOY TSOTE
B0SPTSETS “VD ‘STA JVILSIM ‘GY WENODV TSOTE
BO9PTIETE “WD ‘DTA 2V1LSIM ‘GY VENOOY TSOTE
SO9PISETE “VO “DTA JNVLIS3M ‘GY VeNODY TSOTE
BOSPTSETE V2 ‘SIA AVSIM ‘OY VENOOY TSOTE
OOOOTSETS VD ‘OVTIA JNVILSAM ‘ VOY vENOOY TSsoTE
QOOOTSIETE “VD ‘OVTIIA IAVILSAM ‘ GVOU VUNOOY LsoTE
BO09PTIETG ‘VD ‘OTA 3NVILSIM ‘ GY WENOOY TSOTE
P98T0 ‘VIN ‘ONIGVaY HLYON ‘OOP 315 ud WUYdYSALy OOP
P98TO ‘VW ‘ONIGW3Y HLYON ‘OOP 31S YG WY vduaATY OOP
SO9VTSETE YD ‘SIA INVILSIM ‘GY WeNOOY LSOTE
SO9PTSETE ‘WO ‘DIA INV ILSaM ‘OY VWuNOOY TSOTE
SO09PTSETS ‘VO ‘OTA INVILSIM ‘OY VUNOOY TSOTE
BO9PT9ETS ‘WD ‘OTA JNVILSIM ‘ GY WuNOSY TSOTE
SOBSS7ZTEL HO ‘ALID WINOHVIAO “9088Sz XO Od
9088SZ7TEL HO 'ALIO VINOHV1NO ‘908862 XO Od

P9BTO ‘VIN “ONIGV3Y HLYON “OOP 31S ‘Yd NYVdYaAIY OOP
pLEEE “Td “GIAVO ‘GY ONITHSLS TOS

PTEEe ‘Td “BIAWO “OY ONITHAIS LOZS

bLEee Id “SIA ‘dy ONITHSLS TOS

PEEge "Id “SIAVO ‘OY ONITHBLS TOZS

PLEEE “Td “SIAVG ‘GY ONITYZIS Tozs

PLEEE Td “BIAVG ‘OY ONITNALS LOZ

PIEEE 14 “JIAVG “GY ONITUSLS Toss

PIEEE 14 ‘BIAVG “GY ONITYALS TOLS

bTEee ‘14 ‘JIAVG ‘dy ONTYALS Tos

BOSPTIETE “VD ‘DTA JAVILSIM ‘GY VHNOOV TSOTE
SO9PTIETE VO “STA JNVLLSAM ‘OY VENOOV TSOTE
BO9PTSETE “VO ‘OTA SAV LLSIM ‘CY WUNOOY TSOTE
BO9PTSELG ‘V2 'DIA JIVLLSIM ‘Gu vENOOY TSsOTE
OOOOTIETS VD ‘OVTIIA JNVILSIM ‘ GvOU VuNOOY TSOrEe
OOOOT9ETE “WD ‘OVTTIA JAVILS3M ‘ GVO" VeNOOY TSOTE
EGGS9ZTEZ “NO ‘ALID VINOHVINO ‘£66892 XOG Od
BO9PTSETE “V2 ‘DIA INVLIS3M ‘GY WENOOY Tore
SO9PTSETE ‘WD “OTA JAVILSEM ‘OY VHNOOY TSOTE
B09PT9ETE V2 ‘OIA XV LLSIM ‘GY WUNOOW TSOTE
SO9PT9ETS ‘WO ‘STA JV ILSIM ‘OY VUNOOY IsoTE
QOOOTIETE YD ‘OVTIA 3AVILSaM ‘ VOY WuNnOOY TSOTE
OODOTSETE ‘V2 ‘DVTIIA NVILSIM ‘ VOY VUNOOYW TSOTE
EGES9ZTEL ‘NO ‘ALID WINOHVINO ‘66892 XOB Od
BOSPTIETG “WD ‘DTA IAVILSIM ‘OY VENOOV TSOTE
BO9PTOETE “WO ‘DTA INWILS3M ‘OY WuNOOYW TSOTE
9ZTEL “HO “ALID VWOHWTXO ‘PEG89% X08 ‘O'd

9ZTEL “HO ‘ALIO VINWOHV TNO ‘P66892 XOU “O'd
B09PTSET6 VI ‘DIA INV LLSAM ‘OY VENOOW TSOTE
SO9PTIETG “VD ‘OTA JNVILSAM ‘GY VYNOOV TSOTE
SO9PTIETE "VD “STA INVILSIM ‘GY WUNOOY TSOTE
BO9PT9ETE ‘WD ‘DIA IV LLSIM ‘GY VUNOOY TSOTE
809b-T9ETG WO ‘SIA JxWILSAM “GY VENOOW ISOTE
BO09PT9ETS VO ‘OTA aNVILSAM ‘OY VENOOV TSOTE
BO9PTIETS ‘WD ‘OTA JAVILSIM ‘GY WuNOOV TSOLE

O23 SNI TWNOILWN ALIUNDAS O
O2 SNI WNOILWN ALINND3S 0
O32 SNI TWNOLLVN ALIYND3S O
O3 SNITWNOLLYN ALISMDIS 0
O3 SNITWNOLLWN ALINND3S O
O09 SNITWNOILVN ALINNDAS O
O3 SNI TWWNOILWN ALIUNDIS 0
O2 SNI TWNOILWN ALINND3S 0
9 SNI IWNOLLYN ALINND3S O

O23 SNITWNOILWN ALINNDIS 0
O23 SNI IWNOILWN ALINNDIS O
O2 SNI TWNOILWN ALINND35 0
O93 SNITWNOILLWN ALINNDIS oO

DINSINY HLYON ISNA T890gezz
WORN HLYON LSNYLAY Ts90geZz

JONVUNSNI WNOLLWN ALINNDaS GZEGEZOTOE
JONVENSNI TWNOLLVN ALINNDAS BZESEZOTOE

WIA HLYON LSNYLAY PTzZozE87z

TWNOILYN ALIYND3S
TWNOILWN ALIYND3S
WNOLLYN ALINND3S
TWNOLLYN ALINND3S
TWNOLLVN ALINNDAS
TWNOILYN ALINDIS.
WNOILWN ALIYND3S
TWNOLLWN ALIYND3S
TWNOILYN ALIND3S
O03 SNITWNOILWN ALINNDIS O
O3 SNITWNOLLWN ALINNDIS 0
O03 SNITWNOLLYN ALINND3S 0
O03 SNITWNOILWN ALIUNDAS O
OD SNI TWNOILYN ALIYND3S O
OD SNITWNOILLVN ALINND3S 0
O3 SNI TVNOLLYN ALIHND3S 0
O93 SNITWNOLLWN ALIYMD3S O
OD SNI TWNOLLVN ALINNDAS 0
O23 SNITYNOILWN ALINNDS O
O3 SNI WNOILWN ALINNDIS O
O23 SNI TWNOILLVN ALIYND3S 0
O23 SNITIVNOILVN ALIYND3S 0
O23 SNITWNOLLYWN ALIHNDIS O
O93 SNI TWNOLLVN ALINMO3S 0
OD SNIIWNOILWN ALINMDaS 0

étpoososzavid
éTrOOSOSzd Wid
£Troososzdwid
é£Tpoos0Szav14
éTvoososzawld
étvoososzavii

éTpoososzavid

TWNOILYN ALIYND3S TEBZOPLOT
TWNOILWN ALINMD3S T6EZOPLOT

O39 SNI IVNOILLVN ALINNDIS O
O3 SNIIVNOLLYN ALINNDIS O
O3 SNITWNOLLWN ALINNDAS O
OO SNITWNOILYN ALINND3S 0
O23 SNI TYNOILWN ALINND3S O
O35 SNIIWNOLLYN ALIYND3S 0
O3 SNITWNOLLWN ALISNaS O

dH4-dHI-O£ETOOOODDOWSIN
dOH4-d3H4-OEETOOOOOODWIaW
d3H4-dH4-OEETOOOOOO0IWIIN
dIHs-dHI-OFETOOOOOOOW SIN
dIH3-dOHI-OEETOOOOOOOWSIN
doH4-d3Hs-O€ETOOODDD0WAW
d3H4-ddHI-O£ETOOODO00WIW
dOHJ-dOHs-OEETOOOOOOOWAIN
d3H4-dH4-O£ETOOOOODOWSIN
d3Hs-dIHI-P6EVOOOOOOOWIA
d3Hs-dOHS-P6EPOOOOOOOWSIN
dOHs-ddHI-TTZETOOOOOOW IW
d3H4-dOHI-EELTTOOOOOOWSIN
d3H4-dOHs-TEZ8Z000000W3N
d3HI-dIHsA-TEZ8Z000000W3IN
dOHs-dIHs-8PLZZ000000W II
dIHs-dOHI-8P27Z000000W3
dH4-d3H5-60860000000W3N
dDHS-dOH4-EZTSOODO00OWIW
d3HJ-dOHs-E¢ TSOOO0000WaI
d3H4-dOH4-EZTSOOOOOOOWI
dOH4-dIHI-EZT SOOOOODOWAIN
dIHI-d3Hs-EZT SOO0D000Wa
dDH3-dDH4-EZTSOOOO000INIIAI
d3H4-dOHs-EZT SOODDODOWAW
dOH4-dOH4-EZTSOOOOOOOW A
dOHA-d3H4-EZTSOOOOOOOW AIA,
d3HI-dH4-97B80000000WAIN
dIH4s-dIHI-9Z880000000W IIA.
dHs-d3HI-9Z880000000WI IN
dOHs-dDHI-967E0000000WAW
dHs-dOHs-6ZEZTOOOOOOWAW
d3Hd-dOHI-6ZEZTOOOOOOW IIA
WAH IDDW-bz960SP9z
WINH-IDSI-POTesorgz
WNH-I3M-PoTessroz
WNH-DOW-rOT Eggr9z
WNH-IS9WW-POT Es9P9z
WNH-I9W-802 ZT ZS9z
WNH-IDDI-802 277592
WIN H-IDDI-829S8T PSO
WAH-IDDW-9€Sbz2z2780
WNH-IDDW-SeSPzZ780
WNH-IDDIN-Z66Z0b20T
WNH-IDDIN-26620PZ0T
WNH-ID3W-Z ESSsEseT
INH-IDDIN-ZESSBESET
WNH-IDIA-LS7S8e7PT
WNH-IDDIA- £7 S8¢2r1
WNH-DDA-S2regcesz
WNH-IDDIW-z9926TZ92
WNH-IDDW-Z99 2677292

